Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 1 of 60

Page 3

Invoice No, 808321
October 23, 2014
£.0353+000007

9/10/14

9/10/14

9/10/14

9/11/14

9/11/14

L114
9/214

9/2/14

9/12/14

9/15/14

7381 709v.2

CONFIDENTIAL

BPG

CWD

DAL

BPG

CWD

DAL
BPG

CWwD

DAL

BPG

Follow-up D. Lowenthal re: joinder (.1); OC
same re: same and follow-up (.2); follow-up C.
Dent re: same (.1); review revised joinder and
follow-up (.3); finalize same and attention to
filing (.4); confer C. Dent re: quarterly updates
(.1); begin reviewing reply briefs (1.8).

E-mails re joinder issues, reviewing and
revising same, TC D. Lowenthal re same (.3);
reviewing docket and filed briefs (.3).

Review and revise draft reply brief, including
multiple e-mails with colleagues and
coordination of filing in both US and Canada
(5.5); review bondholders’ appeal motion in
Canada (.3).

Prepare for and participate on weekly
Committee call, follow-up re: same (.7);
attention to e-mails re: appeal (.2); continue
reviewing reply briefs (.6).

Reviewing docket (.2); Committee call, OC D.
Lowenthal and B. Guiney re 9019 depositions
and Canadian appeal issues (.8); e-mails re
Canadian appeal issues, OC D. Lowenthal re
same (.2).

Review post-trial reply briefs (1.8).

Monitor and follow-up re: e-mails related to
service of brief (.2).

Reviewing docket, OC B. Lowenthal re
Canadian appeal issues, e-mails re same
w/Canadian counsel (.2).

TC J. Tecce re upcoming depositions (.1);
coordinate sending briefs for delivery to J.
Newbould (.2); email J. Heaney re deposition
update (.1); work on fee statement (.2).

Review minutes and follow-up (.2); attention to
reply briefs, follow-up D. Lowenthal re: same
(.2); attention to quarterly updates (.3):
attention to e-mails and drafts re: post-filing
interest order in Canada (.3).

3.00

0.60

5.80

1.50

1.20

1.80
0.20

0,20

0.60

1.00

$2,070.00

$342.00

$5,191.00

$1,035.00

$684.00

$1,611.00
$138.00

$114.00

$537.00

$690.00

ITO0000849
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 2 of 60

Page 4

Invoice No. 808321
October 23, 2014
L0353-000007

9/15/14

9A T/A
9/18/14

9/18/14

Q/IOA4

9/21/14

9/22/14

9/22/14

9/22/14

9/23/14

9/23/14

7381709V.2

CONFIDENTIAL

DAL

BPG
BPG

DAL

BPG

DAL

BPG

CwD

DAL

BPG

CWD

Review revised Order in Canada on PPI and e-
mails with E. Lamek and BNYM's counsel re
same (.7); review post-trial briefs (2.0).

Work on quarterly update (.9).

Prepare for and participate on Committee call,
follow-up re: same (1.4); attention to e-mails
re: allocation closing, other open issues (3);
finalize quarterly update (.8).

Emails re closing arguments (.1); emails re
Court conf. (.1); update from B. Guiney re tax
issue (.4).

Attention to e-mails re: briefs, closing
arguments (.2); finalize quarterly update and
send to D. Lowenthal (.3); attention to unsealed
version of Law Deb brief (1).

Prepare for closings, including review post-trial
briefs and travel to Delaware (7.5); revise client
update (.5).

Monitor closing arguments (for part) (.6);
update C. Dent re: open issues (.2); follow-up
re: hearing (.1); consider November 3
settlement conference and follow-up re: same

(.2).

Reviewing docket (.1); e-mails re allocation
trial and case update, OC B. Guiney re same

(3).

Attend closing argument in Delaware (8.5),
revise client update (.1); work on closing
argument (1.0).

Final review of case update (.2); e-mails with
D. Lowenthal re: hearing, consider same (.2);
monitor closing arguments (for part) (1.9);
follow-up C. Dent re: same (.1); attention to e-
mails (.1).

Reviewing docket, e-mails re hearing dates
w/managing clerk's office (.1).

0.60

0.60

8.00

1.10

0.40

9.60

2.50

0.10

$2,416.50

$621.00
$1,725.00

$537.00

$414.00

$7,160.00

$739.00

$228.00

$8,592.00

$1,725.00

$57.00

ITO0000850
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17. Page 3 of 60

Page 5

Invoice No. 808321
October 23, 2014
L0353-000007

9/23/14

9/24/14

9/24/14
9/24/14
9/25/14
9/26/14

9/26/14

9/26/14

9/29/14

9/30/14

9/30/14

7381709V.2

CONFIDENTIAL

DAL Prepare for closing (.9); participate in closing 9,90
argument (9.0).
BPG — Follow-up re: hearing, confer C, Dent re: open 0.70
issues (.2); review Monitor's motion and update
F(.2); confer D. Lowenthal re: hearing, next
steps (.3).
CWD Reviewing docket (.1). 0.10
DAL Participate in closing argument (8.0). 8.00
CWD Reviewing docket (1). 0.10
BPG — Review minutes of previous meetings and 1.70
follow-up re: same (.4); prepare for and
participate on weekly call. follow-up re: same
(.9); TC D. Lowenthal re: same (.2); follow-up
re: CCAA stay motion, additional follow-up re:
same (.2).
CWD OCD. Lowenthal re court conference (.1); 0.20
reviewing docket (.1).
DAL Committee call (.8); e-mails re stay extension 2.00
in Canada and follow-up (1.2)
BPG — Confer C. Dent re: DOF, allocation decision 0.20
(.2).
BPG — Confer D. Lowenthal re: CCAA stay, review e- 0.20
mail re: same (.2).
DAL Conf. call re Canadian Order (1.0). 1.00
Total Services 101.10
Daniel A Lowenthal 70.20 hoursat $895.00 $62,829.00

Brian P. Guiney 24.50 hoursat $690.00 $16,905.00

Craig W. Dent 6.40 hoursat $570.00 $3,648.00
Outside Professional Services 141.50
Tvl. Transportation/Lodging 1,173.65

Total Expenses

Total This Invoice

$8,860.50

$483.00

$57.00
$7,160.00
$57.00
$1,173.00

$114.00
$1,790.00
$138.00
$138.00
$895.00

$83,382.00

$1,315.15

1TO00000851
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 4 of 60

Patterson Belknap VWebb « Tyler ur

1133 Avenue of the Americas New York, NY TO036-8770

Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017

Re: NORTEL

fax MZSSB 2! wwan pbwicom

Invoice No. 806001
September 10, 2014
FEI No. XX-XXXXXXX

L.0353-000007

CONFIDENTIAL ATTORNEY WORK. PRODUCT

For Professional Services Rendered For The Period Ending
August 31, 2014 In Connection With The Following:

8/1/14

8/2/14
8/3/14

8/3/14
8/4/14

8/4/14

8/4/14

8/5/14

CONFIDENTIAL

BPG

CWD
BPG

DAL
BPG

CWD

DAL

BPG

Review Debtors’ draft of conclusions of
law/findings of fact, follow-up D. Lowenthal
and C. Dent re: same (1.5).

Reviewing post-trial brief (.2).

Begin reviewing conclusions of law for
allocation trial submission (1.1).

Review draft post-trial submissions (1.4).

E-mails with D. Lowenthal re: open issues (.2);
TC D. Lowenthal re: 9019, closing brief (.2);
review post-trial brief (.8); work on joinder to
closing brief (1.7); confer D. Lowenthal re:
same (.2).

Reviewing Debtors’ draft post-trial brief and
proposed conclusions of law/fact, e-mails re
same (.5); reviewing docket (.2).

Review draft post-trial submissions (1.9); work
on joinder (.3); work on post-hearing brief
(1.2); e-mails with Cleary, Akin, and Milbank
(5).

Review Debtors’ response to motion to adjourn
9019, follow-up re: joinder, review C. Dent
comments to same (.5); review Milbank brief
(1.60); confer D. Lowenthal re: open issues and
tollow-up (.3); follow-up re: 9019 (,2).

1.50 $1,035.00
0.20 $114.00
1.10 $759.00
1.40 $1,253.00
3.10 $2,139.00
0.70 $399.00
3.90: $3,490.50
2.00 $1,380.00

IT00000852
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 5 of 60

Page 2

Invoice No. 806001
September 10, 2014
L03453-000007

8/5/14

8/5/14

8/6/14

8/6/14

8/6/14

CONFIDENTIAL

DAL

BPG

CWwD

DAL

Reviewing docket (.1); reviewing revised US
Interests’ post-trial brief and Ad Hoc Group’s
draft brief (.4); reviewing and revising joinder
to US Interests’ post-trial brief, e-mails re same
w/D. Lowenthal and B. Guiney (1.9); e-mails
re holder issues, TC D. Lowenthal re same (.3).

Review Debtors’ response to Monitor’s~
Canadian Debtors’ objection to 9019 motion
and for discovery and send to holders’ counsel
(.7); work on updated post-trial brief (7); e-
mails with Cleary re same (.3); TC holders’
counsel (.2); review other parties’ draft briefs

(1.5).

Review draft statement re: 9019 (5); OC D.
Lowenthal and C. Dent re: same (.9); revise
joinder in post-trial brief (.8); attention to Order
shortening notice and scheduling conference
call and follow-up re: same (.2); prepare issues
list related to 9019 pleading (.3); follow-up re:
revised joinder (.3); attention to sealing issues
and follow-up (.2).

Reviewing draft response to 9019, meeting
w/D, Lowenthal and B. Guiney re same and
joinder to US Interests’ post-trial brief and
follow-up re same (1.6); revising joinder, e-
mails re same w/same, reviewing revised draft
re same (1.3); reviewing docket (.1); e-mails
w/S. Miller, E. Lamek, Akin and Cleary re
joinder and confidentiality issues (.1).

Review holder’s draft statement in response to
9019 and work on post-trial brief, along with
multiple e-mails with Law Debenture, Cleary.
Akin, Milbank, $. Miller and E. Lamek (4.1);
review holder’s draft brief to provide
comments (1.0); TC F. Hodara and B. Kahn re
9019 settlement and e-mail Law Debenture re
same (.6).

2.10

3.40

3.20

3.10

5.70

51,539.00

$3,043.00

$2,208.00

$1,767.00

$5,101.50

ITO00000853
Case 09-10138-MFW Doc 17944-15 . Filed 02/22/17 Page 6 of 60

Page 3

Invoice No. 806001
September 10, 2014
L0353-000007

8/7/14

8/T/N4

8/7/14

8/8/14
8/8/14

8/9/14

8/11/14

CONFIDENTIAL

BPG

CWD

DAL

CWD
DAL

BPG

CWD

Follow-up re: sealing, attention to e-mails re: 3.30
9019, follow-up re: revisions to joinder (.4);
prepare for and participate on weekly
Committee call, follow-up re: same (1.0); work
on revised joinder, follow-up re: same, TC D.
Lowenthal re: comments from E. Lamek (.5);
additional follow-up re: joinder, confer D.
Lowenthal and C. Dent re: same (.4); review
Monitor’s sur-reply re 9019 and follow-up (.3):
review noteholder pleading and follow-up re:
same (.4); OC C. Dent re: Support Agreement,
TC D. Lowenthal re: same and re: open issues

(.3).

Follow-up re joinder filing and confidentiality 4.00
agreement, OC D. Lowenthal re same,
coordinate filing same w/Delaware and
Canadian counsel (.8); reviewing docket (.5); e-
mails re noteholder response to 9019,
reviewing same, follow-up re same, OC B.
Guiney re same (.8); Committee call (for part),
OC D. Lowenthal and B. Guiney re noteholder
call and joinder filing (.7); reviewing and
revising modified joinder (.7); reviewing and
revising monthly fee statement, note to
accounting department re same (.3); reviewing
draft Committee statement re 9019 (.2).

Work on post-hearing brief and proposed 6.20
revisions to holder's brief, including numerous

e-mails with Law Debenture, 8. Miller, E.

Lamek, holders’ counsel, and Akin (5.7).

Review Committee’s draft statement and give

comments to Akin (.5),

E-mails re hearing (.1); reviewing docket (.1), 0.20

Participate in Court hearing and send memo to 2.20
Law Debenture (2.2).

Review Committee statement re: 9019 0,30
settlement, attention to summary of telephonic
conference (.3).

Reviewing revised monthly billing detail, 0.20
follow-up re same (.1); reviewing docket (.1).

$2,277.00

52,280.00

$5,349.00

$114.00
$1,969.00

$207.00

$114.00

ITO00000854
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 7 of 60

Page 4

Invoice No, 806001
September 10, 2014
L0353-000007

8/12/14

8/14/14

8/14/14

8/15/14

8/18/14

8/18/14

8/18/14

8/19/14

8/19/14

8/19/14

8/20/14

8/20/14
8/21/14

8/21/14

8/21/14

8/22/14

CONFIDENTIAL

CWD

BPG

CWD

CWD

BPG

CWD

DAL

BPG

CWD

DAL

CWD

DAL
BPG

CWD

DAL

CWD

Finalizing monthly statement, e-mails re same
w/D. Lowenthal (.4); reviewing docket (.1).

Attention to e-mail re: weekly Committee call,
attention to revised USD pleading (.3).

Reviewing docket (.1); Committee call, e-mails
re same w/D. Lowenthal and B. Guiney (.6).

Reviewing docket and Agenda for 8/19
hearing, e-mails re same w/D. Lowenthal (.2).

Confer C. Dent re: briefing schedule (.1);
follow-up D. Lowenthal re: status (.1).

Reviewing docket and e-mails re corrected
post-trial briefs and upcoming trial dates (.2).

Review hearing Agenda and docket check (.4);
review post-trial briefs (2.4).

Review J. Newbould opinion, confer C. Dent
re: same (.8).

Reviewing docket (.2); reviewing J. Newbould
decision re PPI, TC D. Lowenthal re same (.4),

Court hearing (.7): review post-trial briefs
(2.8); review J. Newbould decision on PPI and
send to J. Heaney, 5. Miller, and holders’
counsel (.9); TC S, Miller re same (.2).

E-mails re claims trial filings, reviewing
docket, reviewing agenda for Committee call

(.1).
Work on billing (.4).

Review agenda, prepare for and participate on

Committee call, follow-up D. Lowenthal and C.

Dent re: same (1.1).

Committee call, OC D. Lowenthal and B.
Guiney re same (1.1); reviewing docket (.1).

Review J. Newbould decision and 9019 issues
(1.3); TC E. Lamek re J. Newbould’s decision
(.6).

Reviewing docket (.2).

0.20

$285.00

$207.00

$399.00

$171.00

$138.00

$114.00

$2,506.00

$552.00

$342.00

$4,117.00

$57.00

$358.00
$759.00

$684.00

$1,700.50

$114.00

ITOO000855
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 8 of 60

Page 5

Invoice No. 806001
September 10, 2014
L0353-000007

8/22/14

8/25/14

8/25/14

8/26/14

8/26/14

8/26/14

8/27/14
8/28/14

8/28/14

8/28/14

8/29/14

CONFIDENTIAL

DAL

CWD

DAL

BPG

CWD

DAL

CWD
BPG

CWD

DAL

BPG

Complete and send fee statement to Law
Debenture (.1).

Reviewing docket, e-mails re unsealed post-
trial briefs (.2).

TC S. Miller and e-mail from I. Rosenberg re
filing unsealed brief (.2), closing issues (3.7).

Attention to unsealed briefs, follow-up re:
record evidence (.3).

E-mails re allocation trial record (.1); reviewing
docket (.1).

Work on analysis for reply/closing argument,
including detailed review of post-trial briefs
and documents (4.7).

Reviewing docket (.1).

Attention to e-mails re: appeal issues (.2);
confer D. Lowenthal (for part) and C. Dent re:
appeal issues and re: trial record (.5); follow-up
I. Rosenberg re: same, TC same re: same (.4);
follow-up D. Lowenthal and C. Dent re: same
(.2); attention to e-mails with E. Lamek re:
appeal and other issues (.2).

E-mails w/D. Lowenthal and B. Guiney re
appeal of Canadian PPI decision, TC D.
Lowenthal and B. Guiney re same and
allocation trial record, e-mails w/E. Lamek re
same, TC B. Guiney re same (.9); reviewing
docket (.1); reviewing draft Canadian Order re
PPI issues, e-mails re same w/D. Lowenthal
and B. Guiney (.2).

Attention to appeal issues in Canada (2.5);
review draft Order re PPI decision in Canada
and give comments to E. Lamek (.8).

Attention to noteholder response to 9019,
follow-up re: same (.4); attention to e-mails re:
appeal in Canada (.1).

0.10

0.20

1.20

3.30

0.50

$89.50

$114.00

$3,490.50

$207.00

$114.00

$4,206.50

$57.00
$1,035.00

$684.00

$2.953.50

$345.00

ITOO000856
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 9 of 60

Page 6

Invoice No. 806001
September 10, 2014
L0353-000007

8/29/14

8/29/14

CONFIDENTIAL

CWD_ Reviewing docket, e-mails re same w/D. 1.40 $798.00
Lowenthal and J. Heaney (.5); e-mails re
omnibus hearings, follow-up re same (.3); e-
mails re Canadian PPI Order and Indenture,
follow-up re same, TC D. Lowenthal re same
(.4); e-mails re Canadian fee issues (.1).
DAL Further work on Order re Canadian post- 1,40 $1,253.00
petition interest decision (.6); e-mail same to J.
Heaney (.2); review statement filed by NNCC
holders (.5); e-mails with E. Lamek re cost
issue in Canada (.1).
Total Services 83.10 $64,588.50
Daniel A Lowenthal 45.90 hoursat $895.00 $41,080.50
Brian P. Guiney 19.20 hoursat $690.00 $13,248.00
Craig W. Dent 18.00 hours at $570.00 $10,260.00
Filing Fees/Index Fees 313.00
Local Travel & Fares 955.09
Total Expenses $1,268.09
Total This Invoice $65,856.59

IT00000857
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 10 of 60

Law Debenture Trust Company of New York

Invoice No. 804007

400 Madison Avenue August 20, 2014
New York, NY 10017 FEIT No. XX-XXXXXXX
Re: NORTEL 1.0353-000007
CONFIDENTIAL ATTORNEY WORK PRODUCT
For Professional Services Rendered For The Period Ending
July 31, 2014 In Connection With The Following:
WANA BPG — Confer D. Lowenthal re: briefing (.2); review 1.40 $966.00
Indenture, Prospectus and Prospectus
Supplement, follow-up C. Dent re: same (.8);
TC D. Lowenthal re: open issues (.1); review
and follow-up re: C. Dent e-mails and e-mails
re: components of claim (.3).
WANA CWB E-mails re notice to holders (.1); follow-up re 2.10 $1,197.00
Indenture and offering documents, e-mails re
same, OC B. Guiney re same, TC JC Lanza re
same (2.0).
TAMA DAL Attention to PPI briefing, including TC with J. 0.30 $268.50
Tecce (.3).
TAMA JCL Review of e-mail correspondence and vmails; 1.80 $1,251.00
conf, call w/ C. Dent re: review of precedent
materials and need to analyze claim positions;
began review of Prospectus Supplernent and
Indenture (1.8).
TINA BPG Follow-up re: PPI brief, other issues (.2); 2.20 $1,518.00
confer D. Lowenthal re: same, confer C. Dent
re: same (.6); consider Support Agreement
issues and follow-up (.3); OC D. Lowenthal re:
brief, including te with F. Hodara, A. Qureshi
and M. Riela re: same (1.1).
T2134 CWD OC D. Lowenthal and B. Guiney re PPI brief 1.60 $912.00

CONFIDENTIAL

and related issues, follow-up re same (1.2); TC
JC Lanza re Indenture issues (.4).

ITO00000858
Case 09-10138-MFW Doc 17944-15. Filed 02/22/17 Page 11 of 60

Page 2

Invoice No. 804007
August 20, 2014
L0353-000007

T2MN4

T2114

T/3IL4

UTAA

T/TN4

TTMN4

HSN4

TAS A4

TNA
719/14

7/9/14

7/94

CONFIDENTIAL

DAL

JCL

DAL

BPG

CWD

DAL

BPG

CWD

DAL
BPG

CWD

DAL

Work on PPI, including TCs with T. Kreller,
Akin and M. Riela to discuss go-forward plan
for ad hoes, ITs and Committee (3.7).

Continued review of Prospectus Supplement,
Indenture and related documentation; attended
to review of C. Dent e-mail TCs
correspondence re: same; conf. call w/ C. Dent
re: review of claims, etc (2.9).

Work on interest issues, including review of
cases for briefs (5.2).

Reviewing case law for pleading (.8); TC D.
Lowenthal re: same and follow-up re: same
(.9); review e-mail re: brief, confer C. Dent re:
same (.3).

OC B. Guiney re PPI brief, e-mails re same and
contact w/holder’s counsel (.4).

Work on PPI analysis and briefing, including
review of case law and TC with J. Tecce (3.0).

E-mails re: brief (.3); work on outline re: same
(.5); OC D. Lowenthal re: same and follow-up
re: same (1.2).

Reviewing case law re claim issues, TC B.
Guiney re same (.4); reviewing docket (.1).

Work on PPI analysis for brief (6.9).

Confer D, Lowenthal re: open issues, brief (.5);
work on Indenture summary (1.0); work on
insert for brief (1.9); confer C. Dent re:
Indenture and Prospectus, OC D. Lowenthal re:
same, follow-up C. Dent and D. Lowenthal re:
same, follow-up D, Lowenthal re: same (1.1);
finalize insert for brief, circulate (.6).

OC B. Guiney re PPI brief issues, meeting re
sare w/L. Lowenthal (.9); follow-up re same

(.4).

Work on PPI brief, including review of
Indenture documents and case law (5.8).

3.70

2.90

5.20

2:00

5.80

$3,311.50

$2,015.50

$4,654.00

$1,380.00

$228.00

$2,685.00

$1,380.00

$285.00

$6,175.50
$3,519.00

5741.00

$5,191.00

ITO0000859
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 12 of 60

Page 3

Invoice No. 804007
August 20, 2014
L0353-000007

WAO/N4

T/ALO/14

T/A0/14

7/11/14

T/AAA4

T/ALI/14

CONFIDENTIAL

BPG

CWD

DAL

BPG

CWD

DAL

Review Milbank opening brief (1.2); follow-up 5.40 $3,726.00
D: Lowenthal re: same, confer C, Dent re: same

(.4); prepare for and participate on Committee

call, follow-up re: same, confer C. Dent re:

same (.7); review Committee brief and follow-

up (.9); OC D. Lowenthal re: briefing issues

(.3); prepare issues list per same (.4); continue

reviewing rider, revising same, multiple TCs

and e-mails with D. Lowenthal re: same (.7);

continue reviewing briefs and related case law

(.8).

Reviewing draft Milbank brief and draft Akin 1.90 $1,083.00
brief, e-mails re same w/D. Lowenthal and B.

Guiney (.8); Committee call (5); OC D.

Lowenthal and B. Guiney re PPI briefs (.3);

revising monthly fee statement, note to

accounting department re same (.3).

Work on PPI brief, including TCs with T. 5.80 $5,191.00
Kreller and Akin re brief issues, draft brief,

review case law, review Milbank’s and Akin’s

draft briefs, and e-mails with Canadian counsel

re briefing status (5.8).

Confer D. Lowenthal re: brief, OC Akin team 2.60 $1,794.00
re: same, work on revisions to rider, attention

to e-mails re: same (.9); e-mails re: same,

prepare supplemental brief per D. Lowenthal

(1.1); review Canadian brief (.6).

E-mails re PPI brief, TC D. Lowenthal re same 2.20 $1,254.00
(.6); reviewing docket (.1): reviewing Canadian

PP] brief, TC B. Guiney re same (.4);

reviewing and revising Law Debenture

supplemental brief, e-mails re same w/D.

Lowenthal and B. Guiney (1.1).

Work on PPI brief including communications 3.60 $3,222.00
with Milbank, Quinn, Akin and Canadian

counsel re brief issues in the US and Canada

(3.6).

ITOOO000860
Case 09-10138-MFW Doc 17944-15. Filed 02/22/17 Page 13 of 60

Page 4

Invoice No. 804007
August 20, 2014
L0353-000007

7/12/14

T/A3/14

T/A3/14

TAA/NA4

TAA A

TAA 4

7/15/14

T/AS/14

CONFIDENTIAL

CWD

BPG

DAL

BPG

CWD

DAL

BPG

CWD

Reviewing revised PPI briefs from ad hoe 0.90
group (US and Canada) and Committee, e-
mails re same w/D. Lowenthal and B. Guiney

(.9).

Review briefs, review e-mails re: same, work 1.60
on comments to same (1.6).

Review draft bondholder and Committee 1.40
Interest Issues briefs (1.4).

Review all briefs and confer D. Lowenthal re: 4.50
same (.9); review and revise Milbank brief, TC

§. Vora re: same, follow-up re: sarne (1.3);

follow-up D. Lowenthal re: Supplemental

Brief, multiple TCs and e-mails re: same (1.8):
follow-up re: cross-border claims Order, review

same, confer with D. Lowenthal re: same (.5).

E-mails re PPI briefs, reviewing revised draft 0.60
of Law Debenture supplemental brief, OC B.

Guiney re same (.2); reviewing draft holder

brief (.2); finalizing monthly fee statement, e-

mails te same w/D. Lowenthal (.2).

Work on PPI briefing including review of case 5.00
law, review of Milbank-led brief, Committee

brief, and coordinate with holders’ counsel

(5.0).

Review and revise Milbank brief, review and 5.50
revise PBWT brief, review Canadian brief,

follow-up re: all, multiple TCs and e-mails with

S. Vora, D. Lowenthal, M. Riela, C. Kunz and

others re: same (2.9); follow-up re: same,

attention to finalizing and filing both briefs,

multiple TCs and e-mails with D. Lowenthal

and C. Dent re: same (1.6); begin reviewing

opening briefs of other core parties, consider

same with D. Lowenthal (1.0).

E-mails re PPI briefs, OC B. Guiney re same, 0.70
reviewing same (.6); reviewing docket (.1).

$1,104.00

$1,253.00

$3,105.00

$342.00

$4,475.00

$3,795.00

$399.00

ITOO000861
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 14 of 60

Page 5

Invoice No, 804007
August 20, 2014
L0353-000007

TAS/N4

7/16/14

7/16/14

7/6/14

T/L T/14

TATA4

TATA

CONFIDENTIAL

DAL

CWD

DAL

BPG

CWD

DAL

Work on PPI brief including review of case
law, multiple TCs and e-mails with Canadian
and Delaware counsel, colleagues, counsel for
holders, Milbank and Akin, and revisions to
draft briefs (6.8).

Continue reviewing opening briefs (.7); confer
LD. Lowenthal and C. Dent re: same (.3); review
case law cited in Monitor’s opening brief and
work on reply brief (3.6); attention to e-mail re:
potential settlement and follow-up (.5).

OC D. Lowenthal and B. Guiney re PPI
response briefing, reviewing draft LawDeb
response re same (.5); follow-up re same,
reviewing Indenture re same, TC B. Guiney re
same (.8); e-mails re settlement discussions,
reviewing Indenture re same, follow-up
research re Indenture issues re same and e-
mails re same w/D. Lowenthal (.4).

Review PPI briefs and work on reply brief and
related issues, including review case law and
briefs. TCs with Milbank and M, Riela, memos
to J. Heaney, and confer with colleagues (5.2);
work on fee statement and send to J. Heaney

(4).

Prepare for and participate on weekly call,
follow-up D. Lowenthal re: settlement issues,
confer C. Dent re: same (1.5); review revised
reply brief, confer D, Lowenthal and C. Dent
re: same, revise same (.5).

OC B. Guiney re 9019 legal issues, TC L.
Russo re same, follow-up re same, OC same re
same (1.1); reviewing revised PPI response, TC
D. Lowenthal and B. Guiney re same (.6).

Review and revise draft brief on Interest Issues,
including TCs and e-mails with J. Heaney, 8.
Miller, and E. Lamek (5.5); review proposed
settlement agreement, including TCs with M.
Riela and Milbank (1.0), M. Riela re settlement
issues (.5).

6.80

5.10

1.70

5.60

1.70

7.00

$6,086.00

$3,519.00

$969.00

$5,012.00

51,380.00

$969.00

$6,265.00

ITO0000862
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 15 of 60

Page 6

Invoice No. 804007
August 20, 2014
L0353-000007

7/18/14

T/AE8/14

7/18/14

T2/N4

TP2A/A4

7/21/14

CONFIDENTIAL

BPG

CWD

DAL

BPG

CWD

DAL

Review case law re: settlements, review
proposed settlement, OC D. Lowenthal and C.
Dent re: same, follow-up re: same (2.2); revise
reply per S. Miller comments (1).

Reviewing case law re settlement issues, ¢-
mails re same w/B. Guiney and L. Russo (.6);
reviewing draft settlement agreement, OC B.
Guiney re same, meeting re same w/D.
Lowenthal and B, Guiney (1.7).

Review draft settlement agreement and analyze
Indenture and case law re same; email same to
J. Heaney; TCs and emails with Milbank and
M. Riela 3.9).

Review revised Committee brief, follow-up D.
Lowenthal re: same, confer C. Dent re: same,
input changes re: same and follow-up re: open
issues (1.3); review Milbank draft, TC D.
Lowenthal re: same and follow-up (1.1); review
Canadian brief (.4); participate on Committee
call and follow-up DB. Lowenthal and C. Dent
re: same (1.2).

OC B. Guiney re PPI response and related
issues (.1); reviewing draft Milbank response
and revisions to Committee reponse (.3);
reviewing Indenture and related caselaw re
response brief (.7); Committee call, OC D,
Lowenthal and B. Guiney re same and Friday
hearing (1.1).

Work on reply briefing, including review draft
Committee brief and draft Milbank-led brief,
TC with Milbank with comments, and review
of draft Canadian brief, TCs M. Riela, and
multiple tes and e-mails with J. Heaney, 8.
Miller, E. Lamek, Milbank, and NNCC
holders’ counsel (6.2).

2.30

2.30

3,90

4.00

$1,587.00

51,311.00

$3,490.50

$2,760.00

$1,254.00

$5,549.00

ITOO000863
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 16 of 60

Page 7

Invoice. No. 804007
August 20, 2014
L0353-000007

T/22/14

T/22/14

T22/14

71/23/14

T/23/14

CONFIDENTIAL

BPG

CWD

DAL

BPG

CWD

Review revised Akin PPI brief (.3); review and
revise Milbank/PBWT brief (1.6); confer D.
Lowenthal and C. Dent re: same, additional
follow-up re: same (.4); attention to revised
Supplemental Brief, confer D. Lowenthal and
C. Dent re: same (.6); TC D. Lowenthal re:
hearing (.5); attention to revised
Milbank/PBWT brief, follow-up re: same (.3);
confer D, Lowenthal re: same (.1); follow-up
re: supplemental brief (.1); attention to reply
briefs (.8); TC D. Lowenthal re: settlement,
attention to e-mails re: same (.4); follow-up re:
settlement, confer D. Lowenthal and C, Dent
re: same (4).

Reviewing and revising supplemental brief re
PPI issues, e-mails w/colleagues re same (.5);
reviewing revised joint bondholder-trustee brief
re same and revising same, e-mails re same
w/colleagues (.7); reviewing docket (.3);
follow-up re 7/25 hearing (.1).

Work on revising and finalizing Law
Debenture’s Interest Issues brief and brief filed
with ad hoc bondholders and BNYM, along
with multiple tes and emails with J. Heaney,
Milbank, S. Miller, E. Lamek, Akin, and
NNCC holders’ re briefs and possible
settlement, and initial review of reply briefs.

Confer D. Lowenthal and C. Dent re:
settlement, follow-up re: same (.4); continue
reviewing reply briefs and preparing for
hearing (.6); TC DB. Lowenthal re: hearing (.4);
follow-up re: same (.1); follow-up research per
Ty. Lowenthal (.3).

E-mails re settlement discussions, OC D.
Lowenthal and B. Guiney re same (.8); follow-
up re documents for 7/25 hearing (.2).

5.50

1.60

8.00

1.80

1.00

$3,795.00

$912.00

$7,160.00

$1,242.00

$570.00

ITO0000864
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 17 of 60

Page 8

Invoice No. 804007
August 20, 2014
L0353-000007

7/23/14

7/24/14

TI24/14

7/24/14

T2514

7/25/14

7/25/14

7/28/14

7/28/14

CONFIDENTIAL

DAL

BPG

CwD

DAL

BPG

CWD

DAL

BPG

CWD

Multiple TCs and e-mails M. Riela, J. Heaney,
S. Miller, Milbank, NNCC holders’ counsel,
and Akin re PPI issues, oral argument and
settlement, along with review of updated
settlement agreement, case law and preparation
for July 25 hearing (7.6).

Confer D. Lowenthal re: hearing, settlement

(.5); participate on weekly Committee call and
follow-up (1.0); monitor court conference and
follow-up D. Lowenthal and C. Dent re: same
(1.0); review 9019 motion, follow-up re: same

(.5).

Preparing for Committee call, participating in
same, OC D. Lowenthal and B. Guiney re same
(1.0); follow-up re Court conference (.2);
monitoring hearing (for part), OC D.
Lowenthal and B, Guiney re same (.7).

Work on PPI settlement, multiple TCs and e-
mails with J. Heaney, M. Riela, Akin, and
holders’ counsel (3.0): prepare for oral
argument at July 25 hearing (3.1); participate in
Court hearing by CourtCall and related follow-
up (2.0); work on billing (4).

Review 7/24 transcript, follow-up re: same (.2);
monitor hearing (for part) follow-up re: same
(1.0); follow-up D. Lowenthal re: same (.1).

E-mails re hearing, OC D. Lowenthal re same
(.3).

Review hearing transcript from July 24 hearing
and send to J. Heaney, Delaware and Canadian
counsel; holders’ counsel (1.2); monitor
Canadian hearing on PPI issues (5.0);e-mails
with J. Heaney, Canadian counsel and holders’
counsel re same (1.3).

Confer D. Lowenthal re: open issues, follow-up
re: same (.8); prepare notice to holders re: 9019
and follow-up D. Lowenthal re: same (.7).

Reviewing docket, e-mails re post-trial brief
(.1); reviewing draft of notice to holders (.1).

7.60

3.00

1,90

1,30

0.30

7.50

0.20

$6,802.00

$2,070.00

$1,083.00

$7,607.50

$897.00

$171.00

$6,712.50

$1,035.00

$114.00

ITOOOO08E5S
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 18 of 60

Page 9

Invoice No, 804007
August 20, 2014
L0353-000007

7/28/14

T2911 4

7/29/14

T/29/14

7/30/14

7/30/14

7/30/14

7/30/14

7/31/14

7/31/14

T/3A/14

CONFIDENTIAL

DAL

BPG

CWD

DAL

BPG

CWD

CWD

DAL

BPG

CWB

DAL

Work on post-hearing issues re allocation and
PPI settlement, including TC with R. Johnson
re post-trial proposed findings of fact and
conclusions of law (1.3); review and revise
notice of holders (1.3).

Follow-up re: notice to holders (.2); follow-up
D. Lowenthal re: closing brief (-2).

Reviewing revised notice to holders, reviewing
docket (0.1).

Draft notice to holders and send to F. Godino
(.9),

Follow-up re: post-trial brief (.1); confer D.
Lowenthal and C. Dent re: 9019 motion and

UCC response (.2); attention to discovery re:
9019 and follow-up re: same (.3).

E-mails re POC motion w/D. Lowenthal, B.
Guiney and Law Debenture (.2); reviewing
docket (,1),

E-mails re Committee call and post-hearings
allocation brief, OC D. Lowenthal and B.
Guiney re same (.2); reviewing docket, e-mails
re 9019 discovery w/D, Lowenthal and B.
Guiney (4).

E-mails with Committee counsel and te J.
Rosenthal re post-trial proposed findings of fact
and conclusions of law (.7); review deposition
notices and TC M. Riela res same.(.6).

Review motion to adjourn / preliminary 9019
objection, follow-up re: same (.5); follow-up
re: deadlines (.1)

Reviewing Monitor’s preliminary objection to
9019 (.2); e-mails re US findings of fact (.1).

Review Monitor’s motion to adjourn settlement
hearing and expedited discovery, send same to
J. Heaney, F. Godino, and holders’ counsel
(2.2); review post-trial brief (.3).

2.60

0.40

0.10

0.90

0,60

0.30

0.60

1.30

0.60

$2,327.00

$276.00

$57.00

$805.50

$414.00

$171.00

$342.00

$1,163.50

$414.00

$171.00

$2,237.50

ITOOO00866
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17. Page 19 of 60

Page 10

Invoice No. 804007
August 20, 2014
L0353-000007

CONFIDENTIAL

Daniel A Lowenthal 109.10
Jean-Claude Lanza 4.70
Brian P, Guiney 60.40
Craig W, Dent 26.40
Filing Fees/Index Fees

Lexis Electronic Research
Local Travel & Fares

Mise.

Tvl. Transportation/Lodging

Total Services 200.60 $157,635.00

hours at $895.00 $97,644.50
hours at $695.00 $3,266.50
hours at $690.00 $41,676.00
hours at . $570.00 $15,048.00
107.00
129.17
15.36
51.00
951.00
Total Expenses $1,253.53
Total This Invoice $158,888.53

ITO0000867
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 20 of 60

Patterson Selcnap Vfebb « Tyler u.

Law Debenture Trust Company of New York

400 Madison Avenue
New York, NY 10017

Re: NORTEL

1723 Avenue of the Americas NewYork, MY (0098-710 212. S56.2000 . fax 212 Rb 2222

www. pbwicom

Invoice No; 801900
July 16, 2014
FEIT No. XX-XXXXXXX

L0353-000007

6/2/14

6/2/14

6/3/14

6/3/14

6/4/14

6/5/14

6/3/14

CONFIDENTIAL

BPG

DAL

BPG

DAL

BPG

BPG

DAL

CONFIDENTIAL ATTORNEY WORK PRODUCT

For Professional Services Rendered For The Period Ending
June 30, 2014 In Connection With The Following:

Attention to e-mails re: trial, coordinate for
Thursday and Friday (.2); review e-mails re:
order of witnesses (.2); begin reviewing expert
reports for June 5 and 6 (.3).

Attend allocation trial and related follow-
up(11.6); TC A. LeBlanc re update on
developing issues (2).

Attention to transcript (.1); other trial updates
(1); OC D. Lowenthal and C. Dent re: trial,
open issues (.4).

Merno to J. Heaney re update on talks with
bondholders’ counsel (.3); update on trial with
colleagues (.5).

Coordinate logistics for trial attendance, confer
D. Lowenthal re: settlement issues, review e-
mails re: same, follow-up re: order of witnesses
(.5); prepare for and participate on Committee
call, follow-up re: same (.7); update D.
Lowenthal re; same and follow-up (.2); travel
to Wilmington, DE for hearing (2.1).

Attend Nortel allocation trial (morning session)
(3.5); attend Nortel allocation trial (afternoon
session) (3,2).

Review email from J. Grogs re ease conference
and forward to Law Debenture (.3).

0.70

11.80

0.60

0.80

3.50

6.70

0.30

$483.00

$10,561.00

$414.00

$716.00

$2,415.00

$4,623.00

$268.50

ITOO000868
Case 09-10138-MFW Doc 17944-15. Filed 02/22/17. Page 21 of 60

Page 2

Invoice No. 801900
July 16, 2014
1.0353-000007

6/6/14

6/6/14
6/9/14

6/9/14
6/9/14

6/10/14

6/10/14

6/Lt/14

6/11/14

6/12/14

6/12/14

CONFIDENTIAL

BPG

DAL
BPG

CWD
DAL

BPG

DAL

BPG

DAL

BPG

CWD

Attend allocation trial (3.6); return travel from
same (3.3); e-mails re: chambers conference

(.2),
Attend allocation trial (5.7).

Prepare for and participate on conf. call,
follow-up D. Lowenthal re: same, follow-up C.
Dent re: same (1.6).

Reviewing docket (.1).

Memo re court conference (1,3); work on
settlement issues in advance of conference with
US professionals (1.4); settlement conference
and follow-up (3.5).

Confer D. Lowenthal re: settlement
discussions, follow-up re: same (.4); e-mails re:
same (,1).

Review settlement scenarios prepared by
Capstone (.8); attention to settlement issues

(.3).

TC re: settlement issues wit D. Botter, D.
Lowenthal, C. Kearns and M. Riela, follow-up
D. Lowenthal re: same (.5).

Attention to settlement, including TC with
Akin and Vedder (1.5); attention to trial
preparation, including review of US expert
reports (2.4).

Prepare for and participate on weekly
Committee call and follow-up D. Lowenthal re:
same (1.2); follow-up re: McConnell
deposition, trial preparation (.4); follow-up D.
Lowenthal re: same (.1); follow-up A. Qureshi
re: same and schedule call (.1).

Follow-up re McConnell expert report, TC B.
Guiney re same, e-mails w/Akin re same (.4);
TC D, Lowenthal re trial schedule, follow-up re
same, OC same re same (.2).

7.10

5.70
1.60

0.10
6.20

0.50

1.10

0.50

3.90

1.80

0.60

$4,899.00

$5,101.50
$1,104.00

$57.00
$5,549.00

$345.00

$984.50

$345.00

$3,490.50

$1,242.00

$342.00

ITOO000869
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 | Page 22 of 60

Page 3

Invoice No. 801900
July 16, 2014
1,0353-000007

6/12/14

6/13/14

6/13/14

6/15/14

6/16/14

6/16/14

6/17/14

6/17/14

CONFIDENTIAL

DAL

BPG

DAL

DAL

BPG

DAL

BPG

DAL

Memo to J. Heaney re settlement update (.8);
trial preparation, including review of expert
reports re US case, focus on McConnell
testimony, and order of witnesses (2.5);
attention to settlement update with Akin and
colleagues (for part) (.5); assist J. Heaney with
Committee issue re same (.2); TC S. Miller re
settlement discussion update and upcoming
witnesses slated for trial (4).

Follow-up re: McConnell expert report (.2);
confer D. Lowenthal re: trial staffing, logistics
re: same (.2); TC D. Lowenthal and E. Lamek
re: McConnell testimony, follow-up re: same
(.6); TC J, Sorkin and J. Yecies re: McConnell,
follow-up re: same (.3).

Work on settlement, including emails with J.
Heaney, A. LeBlanc, and Akin (.2); prepare for
trial next week (.4); TC D. Crichlow re
settlement talks (.2); email re same (.1); TC E.
Lamek and B, Guiney re trial witness
preparation (.6); TC Akin, E. Lamek, and B.
Guiney re McConnell preparation (.5).

Work on settlement re Judges’ request re
settlement amounts (1.1): review CCC and
UKP offers to settle (.3).

Travel to, prepare for and attend allocation trial
(7.0).

Attend Court conference and allocation trial
(8.8); work on fee statement (.2).

Prepare for, attend and return from allocation
trial (10.8).

Attention to trial issues, including multiple e-
mails with B. Guiney re witness testimony (.8):
finalize fee statement and send to J. Heaney
(.2); TC B. Guiney re trial and other case issues

(4).

4.40

1.30

1.50

1.40

7.00

9.00

10.80

1.40

$3,938.00

$897.00

$1,342.50

$1,253.00

54,830.00

$8,055.00

$7,452.00

$1,253.00

1T00000870
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 23 of 60

Page 4

Invoice No. 801900
July 16, 2014
L0353-000007

6/18/14

6/18/14

6/18/14

6/18/14

6/19/14

6/19/14

6/19/14

6/19/14

CONFIDENTIAL

BPG

CWD

DAL

TK

BPG

CWD

DAL

TK.

Confer with D. Lowenthal, attention to PPI
issues, work on draft pleading re: sarne (2.3);
additional follow-up re: same and re: law of the
case (.9); review demonstrative for UKPC cross
and follow-up (.2); review McConnell, Ryan
demonstratives (.1).

E-mails and follow-up re WT PPI motion, OC
B. Guiney re same (.9): e-mails re McConnell
testimony and exhibits (.2).

Attend allocation trial (12:0); work on response
to request that Court reconsider PPI ruling
(1.5).

Confer with D. Lowenthal and B. Guiney re
allocation trial and PPI issues (.3).

Work on submission to Courts (1.1); multiple
e-mails re: same, research re: same, continue
revising same (1.7); additional e-mails about
and research re: same (.6); follow-up e-mails
and continue working on same (8); e-mails
with D. Lowenthal re: changes to draft (.4);
continue revising same, e-mails and TCs D.
Lowenthal re: same, confer E. Lamek re: sare,
circulate final draft to U.S. parties, follow-up
re: same (1.8); additional follow-up an e-mails
re: same (.4); attention to Akin/Milbank draft,
multiple e-mails re: same (.7).

E-mails re PPI response, follow-up re same,
reviewing same (1.3); reviewing Capstone
presentation in preparation for Committee call,
participating in same, e-mails re same w/D.
Lowenthal and B. Guiney (1.1); call
w/Committee, bondholders and the US Debtors
re draft responses (.4).

Attend allocation trial (9.5); work on response
to request for reconsideration of PPI (4.0).

Confer with D. Lowenthal and B. Guiney re
allocation trial and PPI issues (.1).

3.50 $2.415,00

1.10 $627.00

13.50 $12,082.50

0.30 $199.50
7.90 $5,175.00
2.80 $1,596.00

13.50 $12,082.50

0.10 $66.50

1T0000087 1
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 24 of 60

Page 5

Invoice No. 801900
July 16, 2014
1.0353-000007

6/20/14

6/20/14

6/23/14

6/23/14
6/24/14

6/24/14
6/24/14

6/25/14

6/25/14

6/26/14

6/26/14

CONFIDENTIAL

BPG

DAL

BPG

DAL
BPG

CWD
DAL

BPG

DAL

BPG

CWD

Review revised pleading. multiple e-mails re:
same (.7); begin reviewing PPI brief and
follow-up D. Lowenthal re: same (.3);
additional e-mails and follow-up re: same (.5):
work on quarterly update (1.0); OC D.
Lowenthal re: allocation client trial, open issues

(.2).

Finalize letter to Judges (1.0); attend allocation
trial (7.5).

Review submissions to court on PPI issues,
follow-up re: same, follow-up re: logistics (.5);
monitor McConnell testimony, for part (.4);
follow-up D. Lowenthal re: same, confer C.
Dent re: same (.3); monitor allocation trial, for
part (8).

Attend allocation trial (7.5).

Review e-mail from E. Lamek (.1); follow-up
re: PPI, monitor testimony for part (.3); follow-
up re: Committee call (.1); follow-up D.
Lowenthal re: PPI issue, begin updating brief
re: same (1.1); follow-up re: same (.2); TC D.
Lowenthal re: hearing, re: briefing schedule

(.4).
E-mails re trial, reviewing transcript (.3).

Attend allocation trial and related follow-up
(9.0).

Review e-mails (.1); follow-up re: briefing
schedule (.1).

TC Committee counsel re possible PPI briefing
schedule (.1).

Review e-mails re: briefing schedule (.1);
confer D. Lowenthal re: PPI and briefing and
follow-up re: same (.5); follow-up same re:
same and attention to e-mails re: same (.2).

Reviewing bond pricing report, e-mails re same
w/B. Guiney (.2); e-mails re 6/27 Court
conference, TC B. Guiney and D. Lowenthal re
same (.4); reviewing docket (.1).

2.70

8.50

2.00

7.50
2.20

0.30
9.00

0,20

0.10

0.80

0.70

51,863.00

$7,607.50

51,380.00

$6,712.50
51,518.00

$171.00
$8,055.00

$138.00

$89.50

$552.00

5399.00

1T00000872
Case 09-10138-MFW Doc 17944-15_ Filed 02/22/17 Page 25 of 60

Page 6

Invoice No. 801900
July 16, 2014
L.0353-000007

6/26/14
6/27/14

6/27/14

6/27/14

6/29/14

6/29/14
6/30/14

6/30/14

CONFIDENTIAL

DAL
BPG

CWD

DAL

BPG

DAL

BPG

DAL

Work on scheduling and PPI briefing (5.6).

Participate on pre-call re hearing, re PPI issues,
monitor chambers conference, follow-up D.
Lowenthal and C. Dent re: same, OC L. Russo
and C, Dent re: same, work on notice to
holders, work on PPI brief (3.6); te D.
Lowenthal, follow-up C. Dent re: same (.6);
OC L. Russo re: research, follow-up re: same,
review case law (.7).

Monitoring Court conference, OC B. Guiney re
same, TC D. Lowenthal re same (1.3); follow-
up re same (.3); reviewing and revising notice
to holders, e-mails re same w/D. Lowenthal and
B. Guiney, e-mail to J. Heaney re same (.4).

Prepare for and participate in Court
teleconference (.9); related follow-up (.9);
outline schedule for counsel in Delaware and
Canada (.2); memo to J. Heaney (.8); leave
detailed message for holder’s counsel re
briefing schedules and TC and emails with
holder’s counsel re same (.4); coordinate with
BNYM’s US and Canadian counsel, including
conf. calls re same (1.9); work on brief (2.3).

Research re: no-call (1.7); TC D. Lowenthal re:
brief and other open issues (1.0).

Work on interest issues (1.1).

Research re: post-petition interest, follow-up L.
Russo re: same and certain cases (1.4);
continue reviewing case law re: no-call (.6);
revise notice to holders and follow-up (.3) TC
D. Lowenthal and C. Dent re: briefing, follow-
up re: same with C. Dent (.5).

Work on interest issues, including TCs with A.
LeBlanc and colleagues, revising notice to
holders, and review e-mails from Canadian
counsel (1.0).

2.60
4,90

7.40

2.10

1.10
2.80

1.00

$5,012.00
$3,381.00

$1,140.00

$6,623.00

$1,863.00

$984.50
$1,932.00

$895.00

1T00000873
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 26 of 60

Page 7

Invoice No. 801900
July 16, 2014
1.0353-000007

Total Services 194.10 $156,520.50

Daniel A Lowenthal 114.70 hours at $895.00 $102,656.50
Brian P. Guiney 71.40 hours at — $690.00 $49,266.00
Todd Keithley 0.40 hoursat $665.00 $266.00
Craig W. Dent 7.60 hours at $570.00 $4,332.00
Lexis Electronic Research §5§.10
Local Travel & Fares 265.19
Outside Professional Services 1,482.00
Reproduction 2.65
Tvl. Transportation/Lodging 4507.66
Total Expenses $6,312.60
Total This Invoice $162,833.10

CONFIDENTIAL 1T00000874
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 27 of 60

Selkmanm VvooO & TYl@Pr ue

1132 Avenue of the Americzs New York, NY 10096-8710 212.336.2000 fax 212.336.2222 — wuav.powi.com

Law Debenture Trust Company of New York Invoice No. 800039
400 Madison Avenue June 17, 2014

New York, NY 10017 FEI No. XX-XXXXXXX
Re: NORTEL L0353-000007

CONFIDENTIAL ATTORNEY WORK. PRODUCT

For Professional Services Rendered For The Period Ending
May 31, 2014 In Connection With The Following:

S/A/14 BPG _ Review bondholder draft brief (1.1); confer C. 6.70 $4,623.00

Dent, D. Lowenthal re: draft joinder, follow-up

re: same (.4); prepare for and participate on

committee call, follow-up re: same (.6); te D.

Lowenthal re: same and re: brief (.3); begin

reviewing Akin/Cleary brief (1.6); work on

joinder (2.3); TCs R. Johnson and A. Miller re:

same, follow-up re: same (.4).

S/L/14 CWD E-mails re trial witnesses (.2). 0.20 $114.00

5/2/14 BPG Continue reviewing opening brief (.9): te D. 1,90 $1,311.00
Lowenthal re: joinder, confer C. Dent re: same,
revise same (.7); follow-up re: same, send to D.
Lowenthal (.3).

5/2/14 CWLD OCB. Guiney re joinder, reviewing same (.5); 0.70 $399.00
e-inails re trial logistics (.2).

S/2/14 DAL — Draft pre-trial brief (1.3). 1.30. $1,163.50

5/3/14 BPG — Tc D. Lowenthal re: joinder, trial, other open 0.70 $483.00
issues (.4): revise joinder and follow-up re:
same (.3).

S/4/14 BPG _ E-mails re: joinder, trial and logistics re: same 1.20 $828.00

(.3); continue reviewing opening briefs of all
core parties (.9).

5/4/14 DAL __ Draft pre-trial brief (2.3); review briefs filed by 2.60 $2,327.00
other Core Parties (.3).

70045004. 1

CONFIDENTIAL ITO00000875
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 28 of 60

Page 2

Invoice No. 800039
June 17, 2014
L0353-000007

o/3/4

5/5/14

5/5/14

5/6/14

5/6/14

5/6/14

S/T/N4

5/74
S/T/ANA4
5/8/14

5/8/14

7004500v.1
CONFIDENTIAL

BPG

CWB

DAL

BPG

CWD

DAL

BPG

CWD
DAL
BPG

CWD

Continue reviewing opening briefs (.8); OC D.
Lowenthal re: trial, joinder, other open issues
(.9); confer D. Lowenthal re: Akin proposed
changes to joinder, revise same (.6); follow-up
re: same (.2); follow-up re: logistics, TC A.
Cordo re: same, multiple e-mails and TCs re:
same (.8); follow-up D. Lowenthal re: joinder

(.2).

E-mails re joinder (.2).; leave message for A.
Cordo re courtroom logistics (.1).

Pre-trial work, including revisions to pre-trial
brief, confer with B. Guiney, emails with 8.
Miller, E. Lamek, Milbank, Akin and Cleary, tc
F. Hodara, and M. Riela (4.9).

Attention to e-mails regarding joinder, trial
logistics; review and revise joinder and follow-
up D. Lowenthal re: same (.5); additional
follow-up re: same, confer D. Lowenthal re:
next steps (.4); confer A. Cordo re: courtroom
testing (.1).

E-mails re joinder, reviewing same (.3); e-mails
re trial witnesses and motion practice (.2).

Work on pre-trial brief, including emails with
§. Miller, E. Lamek, J. Rosenthal (2.8); review
pre-trial briefs (.8).

Tc D. Lowenthal and E. Lamek, follow-up re:
trial logistics (.7); TC D. Lowenthal and 8.
Miller re: trial logistics, follow-up re: same

(.8).
E-mails re pre-trial motion practice (.2).
Attention to trial logistics (1.3).

Monitor pre-trial hearing (for part), confer D.
Lowenthal re: same (.6); follow-up D.
Lowenthal re: same (.1); attention to e-mails re:
trial logistics, coordinate travel to DE (.4)

E-mails re trial schedule (.1).

3.50

0.30

4.90

1.00

0.50

3.60

0.10

$2,415.00

$171.00

$4,385.50

$690.00

$285.00

$3,222.00

$1,035.00

$114.00
$1,163.50
$759.00

$57.00

1T00000876
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 29 of 60

Page 3

Invoice No. 800039
June 17, 2014
L,0353-000007

5/9/14

5/9/14

S/LI/14
S/L1/14
5/12/14

5/12/14
S/1L2/14

S/L3/14

SIL3/14

5/13/14

5/14/14

S/L4/14

5/14/14
5/15/14

5/13/14

7004500v.1

CONFIDENTIAL

BPG

DAL

BPG
DAL
BPG

CWD
DAL

BPG

CWD

DAL

BPG

CW

DAL
BPG

CWbD

Participate on weekly call (for part) follow-up
re: same (.7); follow-up re: same, follow-up re:
trial logistics (3); confer D. Lowenthal re:
development (.4).

Court hearing (1.5); tc D. Botter and M. Riela
re case issues (.4).

Travel to Wilmington for allocation trial (2.5).
Trial preparation (2.6).

Prepare for, attend, return from allocation trial
(10.5).
E-mails re trial (.2).

Trial and follow-up analysis with colleagues
and Committee counsel (2.0).

Monitor opening statements (for part), attention
to e-mails, follow-up C. Dent re: trial (.8);
prepare for and participate on weekly call,
follow-up re: same (1.0).

E-mails re Nortel hearing schedule, OC B.
Guiney re same (.2); follow-up re 5/16 hearing
date (.1); reviewing Capstone presentation re
Ad Hoc Group's proposal (.3); Committee call
(.9).

Prepare for opening and attend allocation trial
(8.5).

Obtain witness affidavits per D. Lowenthal
(.1); attention to e-mails, updates re: trial,
coordinate 5/15 trip to DE (.4).

OC B. Guiney re trial logistics (2); reviewing
docket (.2).

Attend allocation trial (7.0).

Travel to, attend, and return from allocation
trial (9.8).

E-mails re Nortel trial w/B. Guiney (.2);
reviewing docket (.1); reviewing trial transcript

(4).

1.40

1.50

$966.00

$1,700.50

$1,725.00
$2,327.00
$7,245.00

$114.00
$1,790.00

$1,242.00

$855.00

$7,607.50

$345.00

$228.00

$6,265.00
$6,762.00

$399.00

1T00000877
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 30 of 60

Page 4

Invoice No. 800039
June 17, 2014
L0353-000007

5/16/14

5/16/14

5/16/14.

S/L9/14

$/20/14

5/20/14

S/20/14

5/21/14

3/21/14
5/21/14

5/21/14

S/22/14

5/22/14

7004500v.1
CONFIDENTIAL

BPG

CWD

DAL

BPG

BPG

CWD

DAL

BPG

CWD
CWD

DAL

BPG

CWD

Confer D. Lowenthal and C. Dent re: open
issues, follow-up re: same (.5); additional
follow-up C. Dent re: same (.1).

Meeting w/D. Lowenthal and B. Guiney re trial
issues (.6); reviewing docket, follow-up re trial
transcripts (.3); revising monthly fee statement,
note to accounting department re same (.3).

Review updated list of fact witnesses (.2);
analyze trial issues with B. Guiney and C. Dent

(for part) (.9).

Attention to e-mails re: open issues, trial (2);
confer D. Lowenthal re: same (.2).

Correspondence with D. Lowenthal re: support
agreement, monitor allocation trial (for part)
(5); review EMEA/UKPC witness statements
for Thursday’s testimony (1.0); attention to e-
mails re: allocation trial (.1); te D. Lowenthal
re: staffing, open issues (.2).

Reviewing docket (.1); e-mails w/D. Lowenthal
re trial and proofs of claim (.1); e-mails re trial
schedule (.1).

Attend allocation trial (8.5).

Attention to e-mails, prepare for and coordinate
travel to hearing (3).

Emails re trial, follow-up re same (2)

Reviewing docket, e-mails w/D. Lowenthal re
trial (.1).

Attend allocation trial (8.00); summary to
colleagues (.4).

Travel to, attend and return from Nortel
hearing, follow-up re: same, coordinate re:
same (6.5).

Participate on Committee call, emails re same
w/D. Lowenthal and B. Guiney (1.1); emails re
allocation trial (.2); TC B. Guiney re hearing
schedule (.1).

0.60

1.10

0.40

1.80

0.30

1.40

$414.00

$684.00

$984.50 -

$276.00

$1,242.00

$171.00
$7,607.50
$207.00

$114.00
$57.00

$7,518.00

$4,485.00

$798.00

1T00000878
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 31 of 60

Page 5

Invoice No. 800039
June 17, 2014
L0353-000007

5/23/14

5/23/14

$/23/14

5/27/14

5/27/14

5/28/14
5/29/14

5/29/14
5/29/14

5/30/14

7004 500v.1
CONFIDENTIAL

BPG — TCD. Lowenthal and C. Dent re: staffing and 0.30 $207.00
trial (3).
CWD OCD. Lowenthal re trial issues and Committee 0.60 $342.00
call (.2); reviewing docket (.1); finalizing fee
statement, OC D. Lowenthal re same (.3).
DAL Work on fee statement (.4); confer with B. 1.20 $1,074.00
Guiney and C, Dent re trial issues (.8).
CWD E-mails re Clark/Westbrook settlement and trial 0.20 $114.00
issues (.1); reviewing docket (.1).
DAL Review emails re upcoming trial issues and 0.50 $447.50
logistics (.5).
DAL Attend allocation trial (10.3). 10.30 $9,218.50
BPG — Tec D. Lowenthal, C. Dent re: hedge, UCC call 1.10 $759.00
(2); attention to e-mails re: allocation trial (.1),
follow-up re: staffing (.1); prepare for and
participate on Nortel UCC call (.7).
CWD — Emails re trial (1). 0.10 $57.00
DAL — Attend allocation trial and related follow-up 8.10 $7,249.50
(8.1).
DAL Attend allocation trial (9.0). 9.00 $8,055.00
Total Services 146.80 $117,198.00
Daniel A Lowenthal 82.80 hoursat $895.00 $74,106.00
Brian P. Guiney 55.10 hoursat $690.00 $38,019.00
Craig W. Dent 8.90 hoursat $570.00 $5,073.00

1T00000879
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 32 of 60

Page6

Invoice No. 800039
June 17, 2014
L0353-000007

Local Travel & Fares 402.91
Outside Professional Services 1,320.00
Reproduction 1.50
Tvl - Meals =. 202.25
Tvl. Transportation/Lodging 2,517.41
Total Expenses $4,444.07

Total This Invoice

7004500v. 1

CONFIDENTIAL ITO0000880
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 33 of 60

Fatersen Gelknao VWrebbd 4 Tyier us

1133 Avenue ofthe Americas New York, NY 10086-6710 212.336.2000

Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017

Re: NORTEL

fax £12 05.2204

WAN, phw Ucar

Invoice No. 797955
May 23, 2014
FEI No. XX-XXXXXXX

L0353-000007

4/1/14

4/1/14

4/1/14

4/2/14

4/2/14

CONFIDENTIAL

BPG

CWD

DAL

BPG

CWD

CONFIDENTIAL ATTORNEY WORK PRODUCT

For Professional Services Rendered For The Period Ending
April 30, 2014 In Connection With The Following:

Work on periodic report to client (2.6); review
e-mails to Core Parties (.1); confer D.
Lowenthal re: Trial Protocol deadlines, review
protocols and attention to dates (.5); confer C.
Dent re: same (.2); additional follow-up re:
same with D. Lowenthal and e-mail Akin team
re: same (.4); additional follow-up re: same
(.2); follow-up D. Lowenthal re: identification
of fact witnesses, prepare letter re: same and
follow-up (.3).

OC B. Guiney re allocation litigation (.2);
reviewing draft case update (.2); e-mail from
Committee re settlement (1); e-mails w/Akin
re witness designations (.1).

Review multiple e-mails re witness
designations (.6); attention to deposition issues
with B. Guiney (for part) (.8): letter to other
Core Parties (1.0).

Review e-mails related to depositions (.1);
follow-up re: client update (.2); begin
reviewing McConnell report in preparation for
deposition (.4); prepare for and meet with D.
Lowenthal and C. Dent re: open issues (.3);
follow-up re: McConnell deposition (.2)

OC D. Lowenthal and B. Guiney re upcoming
depositions and trial schedule (.3).

4,30

0.60

2,40

1.20

$2,967.00

$342.00

$2,148.00

$828.00

$171.00

ITO0000088 1
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 34 of 60

Page 2

Invoice No. 797955
May 23, 2014
L0353-000007

4/2/14

473/14

4/3/14
4/34

4/4/14

4/4/\4

4/4/14

4/74

Al7/14

AT 4

4/8/14

CONFIDENTIAL

DAL

BPG

CWD
DAL

BPG

CWD

DAL

BPG

CWD

DAL

BPG

Review e-mails by counsel for Core Parties re
depositions (.2); e-mails with E. Lamek re trial
(.3); review and revise client update (1.7);
confer with colleagues on upcoming
depositions (.3)

Prepare for weekly Committee call, review
agenda and witness list (.2); participate on
same and follow-up re: same (1.1).

TC B. Guiney re deposition logistics (.1).

Bazelon deposition (4.5); Committee call (1.0):
e-mail J. Heaney re designation of witnesses

(.2).

Prepare for, travel to, attend and return from
McConnell deposition (9.8).

E-mails re expert depositions, follow-up re
same, OC D. Lowenthal re same, TC B. Guiney
re same (.6); reviewing docket (.1); revising
monthly fee statement, note to accounting
department re same (.5).

Follow-up re Bazelon deposition (.2); attention
to McConnell deposition, including TC with B.
Guiney re questions at deposition (2.2).

TC D. Lowenthal re: McConnell deposition,
follow-up re: same (.6); review D. Lowenthal
e-mail to J. Heaney re: same, follow-up re:
same (.3); confer C. Dent re: Kinrich depo,
follow-up re: same (.2).

E-mails re expert depositions, OC B. Guiney re
same (.3); finalizing fee statement, e-mails re
same w/L). Lowenthal (.2); reviewing status
report (.1).

Attention to McConnell deposition follow-up
(1.7); work on fee statement (.6).

Prepare for and monitor Kinrich deposition (for
part) (4.2); continue monitoring deposition (for
part) 2.1).

2.50

1.30

2.40

1.10

0.60

$2,237.50

$897.00

$57.00
$5,012.00

$6,762.00

$684.00

$2,148.00

$759.00

$342.00

$2,058.50

$4,347.00

IT00000882
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 35 of 60

Page 3

Invoice No. 797955
May 23, 2014
L0353-000007

4/8/\4

4/8/14
4/9/14

4/9/14

4/9/14

4/10/14

4/10/14

4/10/14

4/11/14

4/11/14

CONFIDENTIAL

CWD

DAL
BPG

CWD

DAL

BPG

CWD

DAL

BPG

CWD

Monitoring Kinrich deposition (for part), OC
B, Guiney re same, e-mails re same (1.2);
reviewing docket (.1).

Work on fee statement (.1).

Follow-up D. Lowenthal re: Kinrich deposition,
prepare executive summary and circulate (.5);
attention to letter re: McConnell deposition
(.1); confer C. Dent re: case e-mails (.1);
attention to 4/17 hearing (.1).

E-mails re Kinrich deposition and Canadian
expert reports (.3); reviewing letter from UKPC
counsel re McConnell deposition, reviewing
protocol re same, TC B. Guiney re same (.3);
reviewing correspondence re Burshtein report
(.1); reviewing docket (.2); follow-up re fee
statement (.1).

Attention to expert reports (1.3).

Prepare for and participate on weekly
Committee call, follow-up re: same (1.2);
attention to litigation calendar and follow-up
re: same (.4).

Committee call (for part), OC B. Guiney re
allocation litigation issues (.9); reviewing
docket (.1); e-mails w/Akin re witness
designations (.1).

Review deposition summary (.1); review notes
and e-mails re Committee call (.1).

Prepare e-mail per Trial Protocol, follow-up re:
same (.3); attention to materials for 4/17
hearing (.2); follow-up C, Dent re: open issues
(.1).

E-mails re courtroom logistics and Burshstein
report (.1); e-mails re witness designations and
affidavits (.2); reviewing motion to strike
Bereskin report (.1),

1.30

0.10
0.80

0.90

1.30

1.60

1.10

0.20

0.60

0.40

$741.00

$89.50
$552.00

$513.00

$1,163.50

$1,104.00

$627.00

$179.00

$414.00

$228.00

ITO00000883
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 36 of 60

Page 4

Invoice No. 797955
May 23, 2014
1.0353-000007

A/12/14

4/12/14

4/14/14

4/14/14

4/15/14

4/15/14

4/15/14

4/16/14

CONFIDENTIAL

BPG

CWD

BPG

CWD

BPG

CWD

DAL

BPG

Begin reviewing core party witness
designations, and attention to affidavits (1.3);
review Canadian Debtors’ motion to strike
Bereskin report (.8).

E-mails re trial logistics and Committee call
(.1); e-mails re trial witness designations (.2).

Continue reviewing fact witness affidavits,
follow-up re: same (.9); attention to e-mails re:
trial protocol, follow-up re: same (.3); finish
reviewing affidavits, attention to trial-related e~
mails, follow-up re: same (1.1).

OC B. Guiney re trial designations and expert
cross-examinations (.2); reviewing docket (.1).

Attention to e-mails from Monitor, review
Factum and related materials for 4/22 hearing
(.7); follow-up re: CGSH request to change
motion deadline (.3); additional follow-up re:
same, attention to additional e-mails (.2);
attention to additional e-mails, follow-up re:
extension of time, follow-up re: 4/17 and 4/22
hearings (.4); review objection to motion to
shorten and follow up re: same (.4).

E-mails re pre-trial motion schedule, OC B.
Guiney re same (.2); reviewing docket and
Agenda re 4/17 hearing (.1).

Attention to Trial Protocol issues (.2).
Attention to UST letter (.2).

Review reply in support of motion to shorten
(.2); review additional e-mails re: hearing,
other issues (.2): follow-up M. Fagen and J.
Heaney re: Committee call (.1); confer C. Dent
re: hearing (.1); follow-up re: same (.1);
attention to order denying motion to shorten,
follow-up re: same (.2); attention to e-mails re:
hearing, discovery, other pre-trial issues (.2).

2.10

0.40

0.40

1.10

$1,449.00

$171.00

$1,587.00

$171.00

$1,380.00

$228.00

$358.00

$759.00

ITO00000884
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 37 of 60

Page 5

Invoice No; 797955
May 23, 2014
L0353-000007

4/16/14

A714

47/14

4/18/14
4/19/14
4/21/14

CONFIDENTIAL

CWD

BPG

CWD

CWD
CWD
BPG

Reviewing motions and response re Bereskin
and Stratton reports (.2); e-mails from
Committee re hearing and call, TC B. Guiney
re same (.2); reviewing e-mails and letter re
McConnell report (.1); reviewing docket (.2).

Review letter re courtroom logistics, follow-up
re: same (.2); prepare list of trial dates per D.
Lowenthal, follow-up re: same (1.1); monitor
joint hearing and follow-up re: same (2.1);
prepare for and participate on weekly
Committee call, follow-up re: same (.6); draft
and send update to D. Lowenthal (.6); review
draft motion to strike (.7).

Reviewing letters re trial logistics and exhibit
lists (.1); monitoring hearing (for part), OC B.
Guiney re same (1.5); Committee call, OC B.
(uiney re same (,5); OC B. Guiney re trial
schedule (.2).

Reviewing letters re pre-trial disclosures (.2).
E-mails re pre-trial motions (.2).

Attention to e-mails, designations, other trial
and discovery related matters (.4); confer C.
Dent re: open issues (.2); follow-up A.
Hanrahan re: UKPC designations (.2); review
revised motion to strike (.5); confer D.
Lowenthal re: pre-trial conference, other open
issues, follow-up re: same (.4); confer C. Dent
re: trial issues, pre-trial conference (.2); review
UBPC designations of McConnell testimony,
follow-up re: same (.7); follow-up D.
Lowenthal re: same, confer A. Qureshi re: same

(.2).

0,70

5.30

2.30

0.20
0.20
2.80

$399.00

$3,657.00

$1,311.00

$114.00
$114.00
$1,932.00

ITOO000885
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 38 of 60

Page 6

Invoice No. 797955
May 23, 2014
L0353-000007

4/21/14

4/21/14

4/22/14

4/22/14

4/22/14

4/23/14

CONFIDENTIAL

CWD

DAL

BPG

CWwD

DAL

BPG

OC B. Guiney re expert designations and trial,
follow-up re same (.8); OC D. Lowenthal re
same (.2); reviewing Canadian Debtors’ outline
re pre-trial conference, e-mails re same w/B.
Guiney (.3); reviewing Canadian Debtors’
motion re EMEA expert reports (.1); reviewing
letter from Canadian Debtors re bond claims, e-
mails re same w/D. Lowenthal (.1); reviewing
letters and motions to strike expert reports (.3).

Review Agenda and letters filed with the
Courts re April 22 pretrial conference and
attention to issues to be considered pre-trial
(3.2); prepare for hearing (.6).

Follow-up D, Lowenthal re: hearing, deliver
Trial Protocol notice and follow-up, confer C.
Dent re: open issues, letter re: bond claims (.3);
attention to various motions in limine (1.1);
attention to misc. e-mails re: Trial Protocol,
discovery and other issues (.3); review
summary of pre-trial hearing, follow-up re:
same (.2); e-mails with D. Lowenthal and C.
Dent re: open items, agenda for meeting (.2)

E-mails re motions in limine and bond claims
letter from Canadian Debtors, OC B. Guiney re
same (.5); OC D. Lowenthal re hearing. e-mails
re same (.2).

Prepare for and attend Court hearing and
related follow-up (8.0).

Confer C. Dent re: open issues, review e-mails
and prepare for meeting with D. Lowenthal
(.5); confer D. Lowenthal and C. Dent re: trial
issues, follow-up re: same (1.5); attention to e-
mails (.2); prepare staffing template, confer C.
Dent and D. Lowenthal re: same (.6).

1.80

3.80

2.30

0.70

§.00

2.80

$1,026.00

$3,401.00

$1,587.00

$399.00

$7,160.00

$1,932.00

ITOO000886
Case 09-10138-MFW Doc 17944-15_ Filed 02/22/17. Page 39 of 60

Page 7

Invoice No..797955
May 23, 2014
L0353-000007

4/23/14

4/23/14

4/24/14

4/24/14

4/24/14

4/25/14

4/25/14

4/25/14

4/27/14

CONFIDENTIAL

CWD

DAL

BPG

CWD

DAL

BPG

CWD

DAL

CWD

E-mails re pre-trial motions and trial exhibits
(.1); OC B. Guiney re trial schedule and related
matters (.3); reviewing docket (.1); preparing
for and meeting w/D. Lowenthal and B. Guiney
re trial schedule, pre-trial briefs and logistics,
follow-up re same w/J. Stam and A. Cordo
(2.6).

Work on pretrial brief (1.0); strategy session re
trial preparation with B. Guiney and C. Dent
(1.5); TC BNYM’s counsel re trial preparation
and follow-up (.4).

Review materials for weekly Committee call,
attention to e-mails (.3); work on letter (.3);
participate on Committee call and follow-up re:
same (.9); follow-up re: letter (.1); attention to
e-mails (.1); begin working on opening brief /
joinder (.4)

Committee call, OC D. Lowenthal and B.
Guiney re letter to Canadian Debtors (.9);

reviewing draft letter to Canadian Debtors’ re
bonds (.1).

Comunittee call (1.1); e-mail counsel re pre-trial
briefs (1.3); letter to counsel re bond claims
(1.0); review brief re motion to exclude expert
report (.8); review US Debtors’ e-mail re
courtroom logistics (.1).

Attention to e-mails, other open issues, follow-
up re: joinder (.5).

E-mails re expert designations, trial logistics,
and response affidavits (.2)

E-mails with professionals re possible call (.1);
TC re bond claims (6).

TC B. Guiney re pre-trial joinder and pre-trial
motions (.2).

3.10

2.10

1.00

4.20

$1,767.00

$2,595.50

$1,449.00

$570.00

$3,759.00

$345.00

$114.00

5626.50

$114.00

1T00000887
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 40 of 60

Page 8

Invoice No. 797955
May 23, 2014
L.0353-000007

4/28/14

4/28/14

4/28/14

4/29/14

4/29/14

4/29/14
4/30/14

4/30/14

CONFIDENTIAL

BPG

CWD

DAL

BPG

CWD

DAL
BPG

CWD

Daniel A. Lowenthal 38.90 hoursat $895.00 $34,815.50
Brian P, Guiney 55.90 hoursat $690.00 $38,571.00
Craig W. Dent 18.80 hoursat $570.00 $10,716.00

Review materials filed and served on April 25
deadline, follow-up re: same (1.2); additional
follow-up re: joinder, next steps, confer C.
Dent and D. Lowenthal re: sarne (.4); review
response to motion in limine (.5); TC D.
Lowenthal re: trial staffing, other open issues

(.3)

E-mails re pre-trial motions, OC D. Lowenthal
and B. Guiney re same (.2); reviewing docket
(.1).

Attention to trial brief and related issues (.6);

confer with B. Guiney and C. Dent re same
(.3); review draft brief (.6).

Attention to responses to motions in limine,
other open issues (1.3); review e-mails related
to discovery and pre-trial issues (.2); attention
to R. Johnson e-mail re: objection (.2); confer
D. Lowenthal and C. Dent re: open trial,
briefing and other open issues (.2).

OC D. Lowenthal and B. Guiney re pre-trial
brief (.2).

Attention to pre-trial brief (.6).

Review US interests’ motion to strike Canadian
exhibit/deposition objections (.4); attention to
e-mails (.1); TC A. Qureshi re: open issues,
follow-up re: same (.3); update D. Lowenthal
and C. Dent re: same and follow-up (.3); confer
D. Lowenthal re: bondholder brief, follow-up
re: same (.2).

E-mails re trial witnesses, TC B. Guiney and D.
Lowenthal re same and trial logistics (.4).

Total Services

2.40

0.30

1.50

1.90

0.40

113.60

$1,656.00

$171.00

$1,342.50

$1,311.00

$114.00

$537.00
$897.00

$228.00

$84,102.50

ITO00000888
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 41 of 60

Page 9

Invoice No..797955
May 23, 2014
1.0353-000007

Outside Professional Services 155.00

Tvl. Transportation/Lodging 929.10
Total Expenses $1,084.10
Total This Invoice $85,186.60

CONFIDENTIAL ITOO000889
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17. + Page 42 of 60

Patterson Bolknao Vvebb 4 Tyler ur

4193 Avenue of the Americas — New York, NY 10038-6710. 212.336.2000

Law Debenture Trust Company of New York

400 Madison Avenue

New York, NY 10017

Re: NORTEL

fax 212.336.2222

Wenn.pawiecon

Invoice No; 795642
April 7, 2014
FEL No. XX-XXXXXXX

L0353-000007

3/1/14

3/2/14
3/2/14

3/3/14

3/3/14

3/3/14

6881966V.2

CONFIDENTIAL

BPG

CWwD
DAL

BPG

CWD

DAL

CONFIDENTIAL ATTORNEY WORK PRODUCT

For Professional Services Rendered For The Period Ending
March 31, 2014 In Connection With The Following:

Attention to expert reports, review Kilimnik
report and summarize (1.1).

E-mails re rebuttal expert reports (1)

Attention to Trial Protocol meet and confer
(1.0); begin review of rebuttal expert reports
(1.0).

Finalize Kilimnick summary, e-mail D.
Lowenthal and C. Dent re: same and re: other
expert reports (.4); begin reviewing Kinrich
report (.9); confer C. Dent re: expert reports
and other issues (.2); confer BD. Lowenthal re:
same (.1); finish reviewing Kinrich and begin
summary of same (.6); begin reviewing C.
Bazelon report (.8).

E-mails re expert reports, follow-up re same,
OC B. Guiney re same (1.3); reviewing docket
(.1); e-mails re expert deposition schedule (.1);
reviewing amendment and supplement to trial
protocol, e-mails re same w/B. Guiney (3).

Prepare for meet and confer and travel to
Toronto for same (7.8); review letter to
Canadian Court re trial (.3); review expert
reports (.9).

1,20

0.10
2.00

3.00

1.80

9.00

$828.00

$57.00
$1,790.00

$2,070.00

$1,026.00

$8,055.00

ITOO000890
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 43 of 60

Page 2

Invoice No. 795642
April 7, 2014
L.0353-000007

3/4/14

3/4/14

3/4/14

3/5/14

3/5/14

3/5/14

3/6/14

3/6/14

3/6/14

688 1 966v.2

CONFIDENTIAL

BPG

CWD

DAL

BPG

CWD

DAL

BPG

CWD

DAL

Finish reviewing Bazelon report (.5): begin
reviewing Green report (1.2); finalize summary
of Kinrich reports (.9); confer C. Dent re:
expert reports (.2): follow-up D. Lowenthal re:
meet and confer (.1).

E-mails re meet and confer, OC B. Guiney re
same and Amendment Trial Protocol, e-mails
w/D. Lowenthal re same (.5); reviewing docket
(.1); e-mails w/D. Lowenthal and B. Guiney re
rebuttal expert reports, follow-up re same (.7).

Attend meet and confer in Toronto and return
to NY (11.0).

Attention to Trial Protocol issues, confer C.
Dent re: same (.2); finish reviewing Green
report, review Bereskin report (2.3).

Reviewing docket (.2); e-mails re meet and
confer and amendment to Trial Protocol (.2).

Memo to J. Heaney re meet and confer (1.5);
review updated Amendment and Supplement to
Trial Protocol and provide comments to
counsel for other Core Parties (3.4); confer
with B. Guiney re Amendment and Supplement
(1)

Review expert rebuttal chart, prepare for call
(.2); confer C. Dent and D. Lowenthal (for part)
re: expert reports (.2); prepare for and
participate on weekly Committee call, follow-
up re: same (1.2); work on Bazelon summary
(.7); work on Bereskin summary (.5).

Reviewing docket (.1); OC B..Guiney and D.
Lowenthal re expert reports (.4); Committee
call, OC D. Lowenthal re same (1.3).

Committee call (1.3); attention to Amendment
and Supplement to Trial Protocol (1.0); review
motion to modify recognition Order (.2).

2.90

1.30

11.00

2.90

0.40

5.00

1.80

$2,001.00

$741.00

$9,845.00

$1,725.00

$228.00:

$4,475.00

$1,932.00

$1,026.00

$2,237.50

ITO0000891
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 44 of 60

Page 3

Invoice No. 795642
April 7, 2014
L0353-000007

3/7/14

3/7/14

3/7/14

3/9/14

3/9/14

3/9/14

3/10/14

3/10/14

3/10/14

6881 966v.2

CONFIDENTIAL

BPG

CwD

DAL

BPG

CWD

DAL

BPG

CWD

DAL

Finalize Bereskin summary (.2); confer C. Dent
re: expert depositions, open issues (.2); review
e-mail related to Trial Protocol and follow-up

(2).

Reviewing docket (.1); e-mails re rebuttal
expert reports (.2); reviewing Amendment and
Supplement to Trial Protocol, e-mails re same
(.3); OC B. Guiney re expert witness
depositions (.1).

Attention to upcoming status conference (.2);
review revised Amendment and Supplement to
Trial Protocol (1.4); memo to J. Heaney re
same (.5).

Attention to e-mails re: Trial Protocol, review
revised versions, follow-up re: same (.5).

E-mails re revised Amendment and Supplement
to Trial Protocol, reviewing drafts re same (.2).

Emails with J. Stam re Trial Protocol (.2):
review rebuttal expert reports (4.3).

Draft summary of Green report (2.3); attention
to revised protocol, e-mails D. Lowenthal re:
same (.3); attention to additional e-mails re:
same (.2).

E-mails re Amendment and Supplement to
Trial Protocol (.2); e-mails re expert
depositions (.2); reviewing docket and Agenda
for 3/12 hearing, follow-up re same (.1).

Attention to Trial Protocol revisions and update
to J. Heaney (.4); review expert reports and
deposition schedule (2.2); further review of
additional updates to Amendment and
Supplement to Trial Protocol and multiple
letters/statements filed by Core Parties in US
and Canadian Courts re unresolved issues (1.6).

0.60

0.70

2.10

0.50

4.20

$414.00

$399.00

$1,879.50

$345.00

$114.00

$4,027.50

$1,932.00

$285.00

$3,759.00

ITO00000892
Case 09-10138-MFW. Doc 17944-15 Filed 02/22/17 Page 45 of 60

Page 4

Invoice No. 795642
April 7, 2014
1,0353-000007

3/11/14

3/11/14

3/11/14

3/12/14

3/12/14

3/12/14

3/13/14

3/13/14

688 1966v.2

CONFIDENTIAL

BPG

CWD

DAL

BPG

CWD

DAL

BPG

CWD

Confer C. Dent re: expert reports, expert
depositions, follow-up re: same (.2): review e-
mails related to discovery (.1); follow-up D.
Lowenthal re: hearing, confer C. Dent re: same
(.1); review additional e-mails re: Trial
Protocol and re: same (.2); begin reviewing
Huffard Report (.9).

Reviewing docket (.1); TC D. Lowenthal re
3/12 hearing, OC B. Guiney re same and expert
depositions (.2). reviewing Milbank 2019 (1).

Review emails and updates to Amendment and
Supplement to Trial Protocol and letters to the
Courts (1.5); TC S. Miller re multiple March 12
pre-trial conference (.3); prepare for same (.8);
memo to J. Heaney re: filed Amendment and
Supplement (1.0); review updated Amendment
and Supplement and send to J. Heaney (.4).

Prepare for and monitor court conference (for
part) (1.0); follow-up D. Lowenthal re: same
(.1); review Malackowski report and work on
summary (1.4).

Reviewing docket (.1); follow-up re monthly
fee statement (.2); e-mails re 3/12 hearing (.1).

Prepare for and attend Court hearing in
Delaware (8.5); memo to J. Heaney re same
(1.0); review letter from UKPC to Monitor (.3).

Confer D. Lowenthal and C. Dent re: hearing
and other open issues, follow-up re: same (.4);
prepare for and participate on weekly
Committee call, follow-up re: expert
depositions (1.1); follow-up C. Dent re: expert
reports (.2).

E-mails re expert reports (.1); OC D.
Lowenthal and B. Guiney re 3/12 hearing (.2);
Committee call (for part), OC D. Lowenthal
and B. Guiney re expert depositions (.9);
reviewing letter re Canadian claims mediation

(1).

1.50

0.40

4.00

0.40

9.80

1.70

1.30

$1,035.00

$228.00

$3.580.00

$1,725.00

$228.00

$8,771.00

$1,173.00

$741.00

ITO0000893
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 46 of 60

Page 5

Invoice No. 795642
April 7, 2014
L0353-000007

3/13/14

3/14/14

3/14/14

3/16/14

3/L 7/14

B/A7/14

3/18/14

6881966v.2

CONFIDENTIAL

DAL

CWD

DAL

DAL

CWD

DAL

CWD

Follow-up to March 12 pretrial conference (.6):
prepare for and participate in Committee call
(2.0).

Reviewing docket and Agenda for 3/18
hearing, e-mails re same w/D. Lowenthal (.1);
revising monthly fee statement. e-mails w/D.
Lowenthal re same (.3): e-mails re letters re
Canadian mediation (.1); TC D. Lowenthal re
expert deposition schedule for upcoming week
(.1); e-mails w/Akin re US Debtors’
correspondence, TC D. Lowenthal re same (.1);
reviewing expert deposition protocol (.1).

Review hearing Agenda (.1); work on fee
statement (.4); review letters from US Debtors’
counsel and UKPC’s counsel re Canadian
mediation issue, and send same to J. Heaney
(.8); emails with Akin re Committee issues
(1.0); review letter from Goodmans and send to
J. Heaney (.1).

Review e-mail from US Debtors counsel re
filing on docket of letters (.1); review letter
from Monitor’s Canadian counsel re mediation
issue (.2); work on fee statement (1.0); plan for
expert depositions (.3).

E-mails re various case issues (.1); reviewing
docket (.1); follow-up w/accounting dept. re
monthly fee statement, TC D. Lowenthal re
same (.2)

Work on fee statement (.4); e-mails with J.
Heaney re Committee issue (1.4); review filing
by US Debtors re letters concerning possible
mediation in Canada (.1); finalize and send fee
statement to Law Debenture (.4); review letter
from UKPC counsel to J. Morawetz (.9).

E-mails re expert depositions, including
Malackowski deposition, OC D. Lowenthal re
same (.3); revising fee statement, e-mail to D.
Lowenthal re same (.1); e-mails re Antoon
report withdrawal, TC D. Lowenthal re same

(2).

2.60

0.80

2.40

1.40

0.40

3.20

0.60

$2,327.00

$456.00

$2,148.00

$1,253.00

$228.00

$2,864.00

$342.00

ITO00000894
Case 09-10138-MFW Doc.17944-15 Filed 02/22/17 Page 47 of 60

Page 6

Invoice No: 795642
April 7, 2014
L0353-000007

3/18/14
3/19/14
3/19/14
3/20/14

3/20/14

3/21/14

3/21/14

3/22/14

3/24/14

3/24/14

3/24/14

688 1966v.2

CONFIDENTIAL

DAL
CWD
DAL
CWD

DAL

CWwD

DAL

BPG

BPG

CWD

DAL

Deposition details and preparation (1.4).

E-mails re expert depositions (.2).

Attend Malackowski deposition at Cleary (9.0).

Prepare for and participate in Committee call
(.6); OC D. Lowenthal re expert deposition
schedule (.1); TC D. Lowenthal re Order
amending Trial Protocol, reviewing same (.1);
reviewing docket (.1).

Committee call (.5); te K. Dine re Trial
Protocol and related follow-up (.4); review
letter from CCC’s counsel to Courts (.2);

review letter from US Debtors to J. Gross (.2).

OC D. Lowenthal re Trial Protocol, e-mails re
same from Committee (.2); reviewing docket

(1).

Review updated Trial Protocol (.2); review J.
Newbould scheduling Order (.2).

Attention to e-mails re: Trial Protocol Order,
follow-up re: same (.4).

Confer C. Dent re: expert depositions (.1);
follow-up re: Trial Protocol Order (.2);
attention to submission to US court re:
allocation of trial time and follow-up re: same
(.3); confer D. Lowenthal and C. Dent re:
expert depositions (.2).

OC B. Guiney re expert deposition schedule,
OC D. Lowenthal re same (.3); reviewing
docket (.1).

Review US Debtors’ letter to J. Gross re trial-
time allocations (.4).

1.40
0.20
9.00
0.90

1.30

0.30

0.40

0.40

0.80

0.40

0.40

$1,253.00
$114.00
$8,055.00
$513.00

$1,163.50

$171.00

$358.00

$276.00

$552.00

$228.00

$358.00

ITOOO000895
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 48 of 60

Page 7

Invoice No. 795642
April 7, 2014
L.0353-000007

3/25/14

3/25/14

3/25/14

3/26/14

3/26/14

3/26/14

3/27/14

6881966v.2

CONFIDENTIAL

BPG

CWD

DAL

BPG

CWD

DAL

BPG

Review discovery-related e-mails, review letter
to J. Newbould and follow-up (.2); attention to
e-mails re: EMEA settlement and follow-up
(.4); additional follow-up (.1); TC R. Johnson
re: B&C depositions, follow-up re: same (.2);
confer D. Lowenthal re: same (.2); review
Burshtein report, summarize same and follow-

up (1.7).

TC B. Guiney re rebuttal expert reports (.1); e-
mail from Committee re settlement proposal,
OC D. Lowenthal re same (.5).

Review CCC’s letter to Judge Gross and Justice
Newbould and send to J. Heaney (.1); review e-
mail from F. Hodara re settlement proposal and
analyze same (.9); confer with C. Dent re same
(.4); TC F. Hodara re same (.4); e-mail update
to J. Heaney (.4); review Torys and Lax
O’Sullivan respective letters re deposition issue
(.2); review proposed settlement chart (.5).

Review e-mails and letters related to expert
discovery (.2); monitor Berenblut deposition
and summary of same. confer D. Lowenthal re:
same (4.3); finalize and circulate Burshtein
summary (.2); monitor Berenblut deposition
(for part) (2.5).

E-mails re expert depositions, reviewing
docket, reviewing correspondence re Canadian
rebuttal report (1).

Review letter from Canadian firms to
Goodmans re sur-reply expert report (.3); email
F. Hodara re settlement issues (.1); review
settlement proposal (.4); review letters to J.
Gross (.1); email update to J. Heaney (.3).

Prepare for weekly Committee call, review
power point presentation, review EMEA
settlement materials, e-mails with R. Johnson
re: Berenblut deposition (.6); participate on
weekly Committee call and follow-up (1.3).

0.60

2-90

7.20

0.10

1.90

$1,932.00

$342.00

$2,595.50

$4,968.00

$57.00

$1,074.00

$1,311.00

ITOO000896
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 49 of 60

Page &

Invoice No, 795642
April 7, 2014
L0353-000007

3/27/14 CWD Committee call, OC D, Lowenthal and B. 1.50 $855.00
Guiney re same (1.3); reviewing docket (.2).

3/27/14 DAL __ Prepare for and participate in Committee call 1.70 $1,521.50
(1.7).

3/28/14 BPG — Confer D. Lowenthal re: trial, depositions, 0.40 $276.00
follow-up re: same (.3); attention to e-mails
(.1).

3/28/14 DAL _ Attention to depositions (2). 0.20 $179.00

3/30/14 CWD _ E-mails re exhibit designations (.1). 0.10 $57.00

3/31/14 BPG _ Attention to e-mails re: Burshtein report, 1.10 $759.00

Bereskin report, other discovery materials (.5);
confer C. Dent re: periodic update (.1); begin
working on status report (.5).

3/31/14 CWD OCB. Guiney re Law Debenture status report 0.20 $114.00
(.1); reviewing docket (.1).

3/31/14 DAL _ Review letters from counsel for Core Parties re 9.30 $8,323.50
document disclosure issues (.3); attend Green
deposition (9.0).

Total Services 143.10 $115,696.50

Daniel A Lowenthal 91.50 hoursat $895.00 $81,892.50
Brian P. Guiney 36.60 hours at $690.00 $25,254.00
Craig W. Dent 15.00 hoursat $570.00 $8,550.00
Filing Fees/Index Fees 508.00
Local Travel & Fares 9.00
Outside Professional Services 262.50
Tvl. Transportation/Lodging 855.64

Total Expenses $1,635.14

Total This Invoice $117,331.64

6881966v.2

CONFIDENTIAL |TO00000897
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 50 of 60

Paterson |

elknap Webb 4 Tyler us

Law Debenture Trust Company of New York

400 Madison Avenue
New York, NY 10017

1138 Avenue of the Americas New York, NY 1GG86-2790 212 338.7000 fax 212.396.2227

Www phwtcom

Invoice No. 793408
March 18; 2014
FEI No. XX-XXXXXXX

Re: NORTEL L0353-000007
CONFIDENTIAL ATTORNEY WORK PRODUCT
For Professional Services Rendered For The Period Ending
February 28, 2014 In Connection With The Following:
2/3/14 BPG _ Follow-up re: expert reports, finalize table re: 0.90 $621.00
same and circulate (.9).
2/3/14 CWD — Reviewing revisions to pre-trial conference 0.40 $228.00
Memorandum re: Trial Protocol; e-mails re
same (.2); reviewing docket (1); e-mails re
expert reports (.1).
2/3/14 DAL — Review chart re expert reports (.7). 0.70 $626.50 -
2/4/14 BPG — Review e-mails re: Trial Protocol, follow-up re: 0.20 $138.00
same (.2).
2/4/14 CWD E-mails re pre-trial conference Memorandum 0.20 $114.00
re: Trial Protocol (.1); reviewing docket (1).
2/4/14 DAL — Court hearing (.4); review updated draft of 1.70 $1,521.50
Memorandum memorializing Court hearing on
the Trial Protocol and e-mails with J. Heaney re
same (.3); review expert reports (1.0).
2/5/14 BPG _ Review e-mails re: meet and confer, follow-up 1.00 $690.00
D. Lowenthal re: same, follow-up ©. Dent re
same (.5); follow-up re: list of deponents and
consider follow-up with Akin (.3); review
additional e-mails re: discovery, trial (2).
2/5/14 CWD Reviewing docket (1); e-mails re final pre-trial 0.40 $228.00
conference Memorandum re: Trial Protocol,
reviewing same (.1); e-mails re document
productions and March meet and confer (.1);
TC B. Guiney re deposition summaries (.1).
6772473y.1

CONFIDENTIAL

ITO0000898
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 51 of 60

Page 2

Invoice No. 793408
March 18, 2014
L.0353-000007

2/5/14

2/6/14

2/6/14

2/6/14

2/7/14

2/74

2/7/14

2/10/14

2/10/14

2/10/14

2/11/14

2/11/14

2/11/14

6772473Vv.1

CONFIDENTIAL

DAL

BPG

CWD

DAL

BPG

CWD

DAL

BPG

CWD

DAL

BPG

CWP

DAL

Attention to possible meet and confer (1);
review Memorandum and attachments re
January 29 hearing (.5).

Prepare for and participate on weekly
Committee call, follow-up re: same (.8); work
on list of deponent summaries, consider Akin
summaries and other materials in connection
with same (1.1),

Committee call, TC D. Lowenthal and B.
Guiney re same (.8); reviewing docket (.1); e-
mails re meet and confer (.2); revising monthly
fee statement, note to accounting department re
same (.5).

Committee call (.8).

Finalize and follow-up re: list of deponents,
circulate same (.4); follow-up J. Sorkin re:
expert reports, confer C. Dent re: same (.2).

E-mails re Canadian proceedings (.1); e-mails
re Akin deposition summaries, OC B, Guiney
re same (.5); e-mails re meet and confer (.1).

Review expert reports (2.0).

Review docket (1); follow-up C, Dent re:
deposition transcripts (.1).

Reviewing docket (.2); finalizing fee statement
(.4); e-mails re depositions (.1).

Review expert reports (7.6).

Review docket, follow-up re: e-mails related to
ongoing litigation, follow-up re: internally re:
expert reports and deposition summaries (.4).

E-mails w/Akin re deposition summaries (.1);
TC B. Guiney re rebuttal expert reports and
related deadlines, follow-up re same (.2).

Review expert reports (1.3).

0.50

1.90

1.60

0.80

0.60

0.70

2,00
0,20
0.70
7.60
0.40

0.30

1.30

$447.50

$1,311.00

$912.00 -

$716.00

$414.00

$399.00

$1,790.00
$138.00. -

$399.00

$6,802.00
$276.00

$171.00

$1,163.50

ITOO000899
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 52 of 60

Page 3

Invoice No. 793408
March 18, 2014
L0353-000007

2/12/14

2/12/14

2/13/14

2/13/14

2/13/14

2/14/14

2/14/14

2/14/14

2/16/14

2/17/14

2/18/14

6772473v.1

CONFIDENTIAL

BPG _ Follow-up J. Sorkin re: expert rebuttal reports 0.70 $483.00
(.2); confer D. Lowenthal re: same, review
agenda, follow-up re: new Canadian Judge,
confer C. Dent re: same (.5).

CWD.. E-mails re rebuttal expert reports, OC B. 0.60 $342.00 |

Guiney re same (.1); reviewing docket (.1); e-
mails from Committee re Committee call and
Canadian trial schedule, e-mails w/D.
Lowenthal re same, OC B. Guiney re same (.2);
e-mails re Akin deposition summaries,
reviewing same (.2).

BPG — E-mails w/l. Lowenthal and C. Dent re: 1.20 $828.00

deposition summaries and expert rebuttal
reports (.1); follow-up J. Sorkin re: same,
follow-up D. Lowenthal re: same and prepare
for Committee call (.3); participate on same

and follow-up (.8).

CWD _ Preparing for and participating in Committee 1,20 $684.00
call, OC D. Lowenthal re same (1.2).

DAL Committee call and related follow-up (1.4); 3.60 $3,222.00
review expert reports (2.2).

BPG... E-mails with C. Dent and D. Lowenthal re: trial 0.30 $207.00
preparation; other issues (.3).

CWD OCB. Guiney re Akin deposition summaries, 0.30 $171.00

e-mails re same (.2); e-mail from Committee re
Dentons conflicts waivers (1).

DAL — Work on fee statement (1.0); attention to 1.40 $1,253.00

Canadian Committee counsel issue (.1); review
expert reports (.3).
DAL Review expert reports (1.5); work on fee 1.60 $1,432.00

statement (.1).

DAL _ Attention to document production received 0.10 $89.50

from Canada (.1).

BPG Follow-up D. Lowenthal and C, Dent re: next 3.40 $2,346.00
steps (.1); confer C. Dent re: same (.1); OC D.
Lowenthal and C. Dent re: same (.5); reviewing
deposition summaries (2.7).

ITOOO000900
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 53 of 60

Page 4

Invoice No. 793408
March 18, 2014
L0353-000007

2/18/14

2/18/14

2/19/14

2/19/14

2/19/14
2/20/14

2/20/14

2/20/14

2/21/14
2/21/14

2/21/14
2/24/14

2/24/14

2125114

6772473v.1

CONFIDENTIAL

CWD

DAL

BPG

CWD

DAL
BPG

CWD

BAL

BPG
CWD

DAL
BPG

CWD

BPG

Reviewing docket (.2); e-mails re deposition
summaries and expert reports, meeting re same
w/D. Lowenthal and B. Guiney (.8).

Attention to fact depositions and expert reports
with B. Guiney and C. Dent (for part) (.7).

Finish reviewing deposition summaries (.9);
confer C. Dent re: same (.2); follow-up J.
Sorkin re: expert reports (.1); TC DB. Lowenthal
re: same and re: open issues (.3); additional
follow-up re: expert reports (.1).

Reviewing docket (.1); TC B. Guiney re
depositions, reviewing Akin summaries re
same (.7).

Review expert reports (2.5).

Follow-up D. Lowenthal re: status (2); TC J.
Sorkin re: reports (.2); follow-up D. Lowenthal
re: same (.1); participate on weekly Committee
call (.5); TC B. Kahn re: docket, follow-up re:
same, confer C. Dent re: same (.3).

Reviewing docket and agenda re Committee
call (.2); Committee call (.5); OC B. Guiney re
docket, e-mails re same (.3).

Committee call and related follow-up (1.2);
review expert reports (2.5).

TC C. Dent re: open issues (4).

TC B. Guiney re open issues (.4); reviewing
docket (.1).

Attention to expert reports (1.7).

Confer C. Dent, D. Lowenthal re: expert
reports (.2).

OC B. Guiney re meet and confer, reviewing
docket (.1).

Confer J. Sorkin re: expert reports, follow-up
C, Dent re: same, follow-up D. Lowenthal re:
same (.6).

1.00

0.70

1.60

0.80

1.00

3.70

0.40
0.50

1.70
0.20

0.10

0.60

$570.00

$626.50

$1,104.00

$456.00

$2,237.50
$897.00

$570.00

$3,311.50

$276.00
$285.00

$1,521.50 .
$138.00

$57.00

$414.00

ITOO000901
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 54 of 60

Page 5

Invoice No. 793408
March 18, 2014
1,0353-000007

2/25/14

2125114
2/26/14

2/26/14

2/26/14

2/27/14

2/27/14

2/2274

2/28/14

6772473v.1

CONFIDENTIAL

CWD

DAL
BPG

CWD

DAL

BPG

CWD

DAL

Reviewing docket (.2); OC B. Guiney and D.
Lowenthal re expert reports (.3); reviewing
Navigant rebuttal expert report (.3).

Review draft expert rebuttal report (.2).

Review Navigant report, confer C. Dent re:
same, follow-up re: same (1.2); OC D.
Lowenthal and C. Dent re: same, TC J. Sorkin
re: same, additional follow-up re: same (1.6);
additional e-mails and follow-up re: same (.3).

OC B. Guiney re Navigant report (.2);
reviewing docket (.1); meeting w/D. Lowenthal
and B, Guiney re expert reports, TC J. Sorkin
re same, follow-up re same, e-mails re same
w/Akin (2.0).

Attention to expert reports (3.3); attention to
escrowed proceeds (.3).

Confer D. Lowenthal re: expert reports, follow-
up re: same (.5); prepare for and participate on
Committee call, follow-up re: same (.5);
additional follow-up re: same (.2) TC J. Sorkin,
follow-up re: revised report, review same (1.1).

OC B. Guiney re expert reports, TC same re
same (,2); reviewing docket (.1); Committee
eall, OC D. Lowenthal and B. Guiney re same
(.5); e-mails and calls w/Akin re Committee
expert reports, TC DB. Lowenthal re same, OC
B. Guiney re same (.5); reviewing revised
Navigant report (.3).

Attention to upcoming meet and confer (1.3);
Comiunittee call and related follow-up (1.2);
attention to Committee rebuttal expert reports

(2.1).

OC D. Lowenthal and C. Dent re: expert
reports, other open issues, follow-up re: same
(.5); review revised expert report from J. Sorkin
re: same, follow-up re: same, confer C. Dent
and [. Lowenthal re: same (1.0); multiple
additional TCs and e-mails re: same, additional
follow-up re: same (1.4).

0.80

2.30

1.70

4.60

2.90

$456.00

$179.00 |
$2,139.00

$1,311.00

$3,222.00

$1,587.00

$969.00

$4,117.00

$2,001.00

ITO0000902
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 55 of 60

Page 6

Invoice No. 793408
March 18, 2014
1,0353-000007

2/28/14

2/28/14

67T24T3V.1

CONFIDENTIAL

CWD Reviewing docket and Agenda for 3/4 hearing, 2.70
TC DB. Lowenthal re same (.2); meeting w/D.
Lowenthal and B. Guiney re expert reports and
depositions, e-mails and follow-up re same
w/Cleary (.9); reviewing revised Navigant
report, e-mails re same, TC J. Sorkin re same,
internal calls re same (1.6).
DAL _ Detailed attention to rebuttal expert reports, 6.40
including review of draft Committee expert
reports, e-mails with Committee counsel, e-
mails with US Debtors’ counsel, analysis of
revisions with B. Guiney and C. Dent (6.4).
Total Services 85.20
Daniel A Lowenthal 44.70 hoursat $895.00 $40,006.50
Brian P. Guiney 23.20 hoursat $690.00 $16,008.00
Craig W. Dent 17.30 hoursat $570.00 $9,861.00
Outside Professional Services 2,486.00
Tvl - Meals 48.47
Tvl. Transportation/Lodging 428.18

Total Expenses

Total This Invoice

$1,539.00. -

$5,728.00 |

$65,875.50

$2,962.65

268,838.

ITOO000903
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 56 of 60

Paterson Delcneap Vepb 4 Tyler u

Law Debenture Trust Company of New York

400 Madison Avenue

New: York, NY 10017

Re: NORTEL

1133 Avenue of the Americas” New York, NY TG036-0710 272.336 2000 fax 272. 39B.2222 °° ww pbwicom

Invoice No. 791320
February 14, 2014
FEI No. XX-XXXXXXX

£.0353-000007

1/2/14

1/2/14

1/3/14

1/3/14

1/3/14

668783 6v.3

CONFIDENTIAL

CWD

DAL

BPG

CWD

DAL

CONFIDENTIAL ATTORNEY WORK PRODUCT

For Professional Services Rendered For The Period Ending
January 31, 2014 In Connection With The Following:

Reviewing BNY mark-up of draft trial protocol
and OC D. Lowenthal re same (.8); reviewing
docket and Court calendar, follow-up re 1/7
hearing (.1); reviewing letters re motion to
dispense with representative party discovery

(.3),

Attention to upcoming meet and confer and
Court hearing with C. Dent (for part) (.3).

Review pleadings and e-mails i/c/w
representative party depositions (1.2); review
docket, review Canadian pleadings related to
settlement agreement (.5).

Reviewing e-mails and facturns re
representative party depositions (3); reviewing
Canadian estate's supplemental response and
limited objection to U.S.-EMEA settlement, e-
mails re same w/D. Lowenthal (.3).

Attention to US Debtors’motion re
representative party depositions, including
review of multiple pleadings filed by Core
Parties in both Delaware and Toronto (4.4);
review motion papers and responses re US
Debtors’ motion to settle with EMEA (2.0);
review hearing Agenda (2); e-mails with S.
Miller re hearing (.1).

1,20

0.30

1.70

0.60

6.70

$684,00

$268.50

$1,173.00

$342.00

$5,996.50

ITO0000904
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 57 of 60

Page 2

Invoice No, 791320
February 14, 2014
L0353-000007

1/6/14

1/6/14

1/6/14

V/7/14

1/7/14

1/7/14

6687836v.3

CONFIDENTIAL

BPG

CWD

DAL

BPG

CWD

DAL

Review CCC e-mails from D. Lowenthal (.2);
review leave to file reply and proposed reply,
follow-up (.3); review Committee joinder,
follow-up re: same (.2); OC D. Lowenthal re:
open issues (.2); confer C. Dent re: trial
protocol, meet and confer, other open issues
(.2); review U.S. Debtors’ letter re:
representative party depositions (.3); review
Agenda, follow-up re: hearing, follow-up re:
Court Call (1).

Reviewing e-mails and filings re January 7
hearing, TC BD, Lowenthal re same, OC D.
Lowenthal and B. Guiney re same (1.4);
reviewing docket (.4).

Review additional motion papers filed re US
Debtors’-EMEA settlement and US

Debtors’ motion to eliminate representative
party depositions (4.5); TC 8. Miller January 7
Court hearing (.3); review Agenda (.2); e-mail
Core Parties re meet and confer (.2); email J.
Heaney re Court hearing (.2); prepare for same

(.8).

Attention to hearing, follow-up re: reservation,
TC Court Call re: same, confer D. Lowenthal
re: same, confer C. Dent re: same (.5); monitor
hearing and follow-up re: same (4,9); follow-up
re: meet and confer, review e-mails re: same
(.1); review docket, review MOR (.2).

Reviewing docket (.2); e-mails w/D,. Lowenthal
and B. Guiney re 1/7 hearing, OC B. Guiney re
same (.2); monitoring hearing (for part) (3.3);
follow-up re 1/8 hearing, TC D. Lowenthal re
same (.2).

Court hearing in Delaware (9.3); e-mail J.
Heaney re same (.1).

1.50

1.80

5.70

3.90

9.40

$1,035.00

$1,026.00

$5,549.00

$3,933.00

$2,223.00

$8,413.00

ITOOO000905
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 58 of 60

Page 3

Invoice No, 791320
February 14, 2014
L,0353-000007

1/8/14

1/8/14

1/8/14

1/9/14

1/9/14

1/9/14

1/10/14

1/10/14

1/10/14

1/13/14

6687836v.3

CONFIDENTIAL

BPG

CWD

DAL

BPG

CWD

DAL

BPG

CWD

DAL

BPG

Follow-up re: hearing, obtain Court Call
reservation (.1); confer C. Dent re: same (.1);
attention to e-mails re: trial protocol (.1);
monitor Court hearing and follow-up re: same
(1.0); review e-mails related to same, follow-
up, review docket (.2).

E-mails re trial protocol, reviewing Wilmington
Trust comments re same (.1); monitoring
hearing, OC BD. Lowenthal and B. Guiney re
same (.9).

Attention to January 10 meet and confer (.2);
Court hearing and follow-up (2.3); review
comments to draft Trial Protocol (.2).

Review docket, review fee application (.2);
review e-mails re: expert witnesses (.3); review
materials for Committee call, prepare for and
participate on same and follow-up C. Dent re:
same (1.0); follow-up D. Lowenthal re: same

(5).

Reviewing e-mails and letters re expert
designations (.3); Committee call, OC B.
Guiney re same (.7); OC D. Lowenthal re meet
and confer (.2); revising monthly fee statement,
note to accounting department re same (.3).

Review expert witness designations (.5);
Committee call (.5); work on fee issues (1.2).

Update with D. Lowenthal re: meet and confer,
review docket, review and consider update
from D. Botter re: allocation and follow-up,
review Capstone declaration and follow-up (.6)

E-mails from Committee re EMEA settlement
discussions (.1).

Meet and confer at Cleary re joint trial protocol
and representative depositions (7.9).

Review docket (.1); confer D. Lowenthal re:
trial protocol and meeting re: same (.3); follow-
up C. Dent re: same (.1).

1.50

1,00

2.10

2,00

1.50

2.20

0.60

0.10

7.90

0.50

$1,035.00

$570.00

$2,416.50

$1,380.00

$855.00.

$1,969.00

$414.00 .

ITOOO000906
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 59 of 60

Page 4

Invoice No. 791320
February 14, 2014
L0353-000007

1/13/14

1/13/14
1/14/14

1/14/14

1/14/14

1/15/14

1/15/14
1/16/14

1/16/14

1/16/14

1/17/14

1/17/14
1/19/14

668783 6v.3

CONFIDENTIAL

DAL

CWD

DAL
BPG

CWD

DAL

CWD

DAL
CWD

TCD. Lowenthal re allocation meet and confer
(3).
Follow-up re trial protocol (.6).

Follow-up re: deposition summaries (.2);
attention to trial protocol (.3).

Revising monthly fee statement, e-mails re
same w/D. Lowenthal (.2); reviewing docket
(.1); e-mails re deposition summaries and trial
preparation, TC DB. Lowenthal re same, OC B.
Guiney re same (.5); reviewing revised trial
protocol (6).

Attention to fact depositions (.1); attention to
fee statement and draft trial protocol (1.0).

Reviewing docket (.1); leave message for C.
Doniak re deposition summaries (.2); e-mails re
trial protocol w/D. Lowenthal, follow-up re
same (.3).

Attention to draft trial protocol revisions (3.1).

Review agenda, confer D. Lowenthal and
prepare for (.3); and participate on weekly
Committee call and follow-up re: same (1.1).

Reviewing e-mails re clawback requests and
trial protocol (.2); Committee call, TC D.
Lowenthal re same, OC B. Guiney re same
(1.1); reviewing docket (.1); begin reviewing
draft expert report (.2).

Prepare for and participate in Committee call
(1.4); attention to fee statement (.3); e-mails
with M. Riela re meeting (.1); attention to
expert report (.3).

Emails re expert report, finish reviewing same
(.5).
Review draft Committee expert report (1.6).

Reviewing UEP and EMEA Debtors’
comments to trial protocol, e-mails re same
w/D. Lowenthal and B. Guiney (3).

0.30

0.60
0.50

1.40

1.10

0.60

3.10
1.40

1.60

1.60
0.30

$171.00

$537.00

$345.00

$798.00

$984.50

$342.00

$2,774.50
$966.00

$912.00

$1,879.50

$285.00

$1,432.00
$171.00

ITO0000907
Case 09-10138-MFW Doc 17944-15 Filed 02/22/17 Page 60 of 60

Page §

Invoice No. 791320
February 14, 2014
L0353-000007

1/20/14

1/20/14

1/20/14

1/21/14

1/21/14

1/21/14

1/22/14

1/22/14

1/22/14

6687836v.3

CONFIDENTIAL

BP

CWD

DAL

BPG

CWD

DAL

BPG

CWD

DAL

Review e-mails re: trial protocol, re: expert
reports and follow-up (4).

E-mails re trial protocol, reviewing UKP
comments re same (.2),

Attention to expert reports, including TC and ¢-
mails with A. Qureshi, L. Schweitzer and M.
Riela (5).

Review draft Committee expert report, e-mail
Db. Lowenthal and C. Dent re: same (1.7);

review e-inails related to debtor expert reports
and follow-up (.1); follow-up e-mails re: same

(2).

E-mails re Debtors’and Committee's expert
reports, call re same w/L. Schweitzer, A.
Qureshi and M. Riela, reviewing reports at
Akin re same, OC A. Qureshi re same (3.4); TC
C. Doniak re deposition summaries, e-mails re
same w/L). Lowenthal and B. Guiney G3).

Attention to draft expert reports, including TC
with L, Schweitzer and M. Riela and review of
draft reports at Akin (4.3).

Review docket (.1); TC D. Lowenthal re:
expert reports, follow-up (.3); TC C. Dent re:
same and follow-up (.2); review e-mails re:
trial protocol / meet and confer and follow-up
te: same (.2); review additional e-mails re:
same, follow-up re: same and confer C. Dent
re: same (.3).

OC B. Guiney re Debtors’expert reports and
deposition summaries (.2); e-mails re trial
protocol, reviewing revised version of same,
TC D. Lowenthal and B. Guiney re sare (.9).

Attention to expert reports (1.4); attention to
trial protocol (1.6).

3.70

4.30

1.10

1.10

3.00

$276.00

$114.00

$447.50

$1,380.00

$2,109.00

$3,848.50

$759.00

$627.00

$2,685.00

ITO0000908
